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Exhibit A

Plaintiffs’ List of Counts and Elements of Proof

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Plaintiffs filed the Complaint on behalf of their respective jurisdictions against
Michael D. Lansky, L.L.C., dba Avid Telecom, Michael D. Lansky, individually and as
Chief Executive Officer, and Stacey Reeves, individually and as Vice President of
Operations and Sales, (collectively “Defendants”) alleging violations of the Telemarketing
Sales Rule (“TSR”), 16 C.F.R. § 310 et seg.; the Telephone Consumer Protection Act
(“TCPA”), 47 U.S.C. § 227 et seq.; the Truth in Caller ID Act (“TCIA”), 47 U.S.C.
§ 227(e) and certain state laws. For each count of the Complaint, a summary is provided
below as to the elements of proof, affirmative defenses and the respective burdens of proof.

COUNT I - By All Plaintiffs
Violations of the Federal Telemarketing Sales Rule
16 C.F.R. §§ 310.3(b)

1. Plaintiffs must show they are proper parties to bring claims under the
Telemarketing Act, 15 U.S.C. §§ 6103(a) and (f)(2). Plaintiffs must show they: 1) are
attorneys general of their State or other authorized officers of their States; 2) had reason to
believe that the interests of the residents of their states had been or were being threatened
or adversely affected because any person had engaged or was engaging in a pattern or
practice of telemarketing which violated any rule promulgated by the FTC under 15 U.S.C.
§ 6102; 3) as parens patriae, brought the action on behalf of residents of their states; 4) in
an appropriate district court of the United States; 5) to enjoin such telemarketing, to enforce
compliance with such rule of the Commission, to obtain damages, restitution or other
compensation on behalf of such residents of their States, or to obtain such further and other
relief as the court may deem appropriate.

2. The Federal Trade Commission promulgated the TSR including, 16 C.F.R.
§ 310.3(b), under its authority pursuant to 15 U.S.C. § 6102.

3. Plaintiffs allege in Count I of the Complaint that Defendants violated the
TSR, 16 C.F.R. § 310.3(b). To prevail, the Plaintiffs must show that Defendants provided
substantial assistance or support to any seller or telemarketer engaged in telemarketing

while Defendants knew or were consciously avoiding knowing that the seller or

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telemarketer was engaged in acts or practices that violated TSR §§ 310.3(a), (c) or (d), or

310.4, including but not limited to whether the seller or telemarketer:

A.  Misrepresented material aspects of goods or services, in violation of
16 C-F.R. § 310.3(a)(2)(iii);

B. Misrepresented the seller's or telemarketer’s affiliation with
corporations or government entities, in violation of 16 C.F.R.
§ 310.3(a)(2)(vii);

C. Made false or misleading statements to induce any person to pay for
goods or services, in violation of 16 C.F.R. § 310.3(a)(4);

D. _ Failed to transmit or cause to be transmitted the telephone number,
and, when made available by the telemarketer’s carrier, the name of the
telemarketer, to caller identification services used by call recipients in
violation of 16 C.F.R. § 310.4(a)(8);

E. Initiated or caused the initiation of outbound calls to telephone
numbers on the National DNC Registry, in violation of 16 C.F.R.
§ 310.4(b)(1)(iii)(B);

F. Initiated or caused the initiation of outbound telephone calls that
delivered prerecorded messages, in violation of 16 C.F.R. § 310.4(b)(1)(v);
and/or

G. Failed to disclose the identity of the seller of the goods or services
truthfully, promptly, and in a clear and conspicuous manner to the person
receiving the call, in violation of 16 C.F.R. § 310.4(d)(1).

The TSR does not define “substantial assistance or support” but the FTC has

provided guidance on its rule and a number of courts, including courts in the Ninth Circuit
and others have defined it. Courts have found “substantial assistance or support” to include
three elements: (1) there must be an underlying violation of the TSR; (2) the person must
provide substantial assistance or support to the seller or telemarketer violating the TSR;

and (3) the person must know or consciously avoid knowing that the seller or telemarketer

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is violating the TSR. FTC v. Lake 181 F. Supp. 3d 692, 700-01 (C.D. Cal. 2016). “The
threshold for what constitutes substantial assistance is low” Jd. and requires showing only
more than “mere casual or incidental assistance to the telemarketer.” Consumer Financial
Protection Bureau v. Daniel A. Rosen, Inc., 2022 WL 1514439, *4 (C.D.Cal. 2022).
Consumer Financial Protection Bureau v. Nesheiwat, No. 21-56052, 2022 WL 17958636,
at *1 (9th Cir. Dec. 27, 2022); FTC v. Consumer Health Benefits Ass'n, No. 10-CV-3551
(ILG), 2011 WL 3652248, at *5 (E.D.N.Y. Aug. 18, 2011) (quoting Telemarketing Sales
Rule, 60 Fed. Reg. 43842-01, 43852 (Aug 23, 1995)). Substantial assistance “does not
impose a demanding standard[.|” FTC v. Day Pacer LLC, 689 F. Supp. 3d 609, 642, (N.D.
Ill. 2023).

5. “To constitute substantial assistance, there must be a connection between the
assistance provided and the resulting violations of the core provisions of the TSR. U.S. v.
Dish Network, L.L.C.,667 F. Supp. 2d 952, 961, (C.D. Ill. 2009). The TSR does not require
a showing of a direct connection between the substantial assistance given and the
underlying violation. See F.T.C. v. Chapman, 714 F.3d 1211, 1216 (10th Cir. 2013)
(Noting the Commission rejected a rule that proposed a requirement that the “substantial
assistance [be] related to the commission or furtherance of that act or practice.” Statement
of Basis and Purpose and Final Rule, Telemarketing Sales Rule, 60 Fed. Reg. 43842, 43852
(Aug. 23, 1995)).

6. Knowledge can be inferred from a combination of suspicion and indifference
to the truth. See United States v. Salinas, 763 F.3d 869, 875 (7th Cir. 2014) (discussing the
“ostrich instruction”); Global-Tech Appliances, Inc. v. SEB S.A., 563 U.S. 754, 769 (2011)
(finding that a willfully blind defendant takes deliberate actions to avoid confirming a high
probability of wrongdoing). Knowledge may be inferred when the person providing
assistance receives complaints about violations. FTC v. Day Pacer LLC, 689 F. Supp. 3d
at 642. Further, “knowledge of the agent is imputed to the principal.” United States v. Dish
Network L.L.C., 954 F.3d 970, 978 (7th Cir. 2020).

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7. A person consciously avoids knowing about a violation when “there are facts
and evidence that support an inference of deliberate ignorance.” Jd.; see also United States
v. L.E. Myers Co., 562 F.3d 845, 854 (7th Cir. 2009); F.7.C. v. Chapman, 714 F.3d 1211,
1219 (10th Cir. 2013) (quoting Fed. Trade Comm'n, Complying with the Telemarketing
Sales Rule, (Feb. 2011), https://www.ftc.gov/business-guidance/resources/complying-
telemarketing-sales-rule) (“[T]aking deliberate steps [*43] to ensure one’s own ignorance
of a seller or telemarketer’s Rule violations is an ineffective strategy to avoid liability.”).

8. As to the underlying TSR violations, the Plaintiffs will bear the burden of
showing calls at issue meet the following definitions:

A. A “seller? is “any person who, in_ connection’ with
a telemarketing transaction, provides, offers to provide, or arranges for
others to provide goods or services to the customer in exchange for
consideration.” 16 C.F.R. § 310.2(dd)

B. “Telemarketing,” in relevant part, as “a plan, program, or campaign
which is conducted to induce the purchase of goods or services . . . by use of
one or more telephones and which involves more than one interstate
telephone call.” 16 C.F.R. § 310.2(gg)

C. A “telemarketer” is “any person who, in connection with
telemarketing, initiates or receives telephone calls to or from a customer or
donor.” 16 C.F.R. § 310.2(ff)

e. The Plaintiffs must prove the elements of the TSR violation by a
preponderance of the evidence. F.7:C. v. Com. Planet, Inc., 878 F. Supp. 2d 1048, 1055
(C.D. Cal. 2012), aff'd in part, 642 F. App'x 680 (9th Cir. 2016), and aff'd in part, vacated
in part, remanded, 815 F.3d 593 (9th Cir. 2016).

10. <A party claiming an exemption from coverage under the TSR or that calls
meet an exemption under the TSR bear the burden of proof. The established business
relationship and the telemarketing to business call provisions of the TSR are written as

exemptions to the general rule. An exemption from the general rule is treated as an

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affirmative defense for which the party asserting the defense bears the burden of proof.
United States v. Dish Network, 75 F. Supp. 3d 942 (C.D. Ill. 2014) (vacated in part on
other grounds); Shaffer ex rel. Schaffer v. Weast, 546 U.S. 49, 126 S. Ct. 528, 534, 163 L.
Ed. 2d 387 (2005) (burden of proof shifts to defendant when element can be fairly
characterized as an exemption); Tourgeman v. Nelson & Kennar, 900 F.3d 1105 (9th Cir.
Cal. 2018.).

11. A defendant is individually liable for corporate violations of the TSR if “(1)
he participated directly in the [unlawful] acts or had the authority to control them and (2)
he had knowledge of [such conduct] . . . or was aware of a high probability of" such conduct
and “intentional[ly] [*3] [*3] avoid[ed] . . . the truth.” Consumer Financial Protection
Bureau v. Nesheiwat, No. 21-56052, 2022 WL 17958636, at *1 (9th Cir. Dec. 27, 2022)
(quoting FTC v. Stefanchik, 559 F.3d 924, 931 (9th Cir. 2009)).

COUNT II- By All Plaintiffs
Violations of the Federal TCPA — 47 U.S.C. § 227 and 47 C.F.R. § 64.1200(n)(3)
(Failure to Exercise Due Diligence/KYC)

12. To target and eliminate unlawful robocalls, the FCC requires that all
originating voice service providers know their customers and exercise due diligence in
ensuring that their services are not used to originate illegal traffic and further recommends
that voice service providers exercise caution in granting access to high-volume origination
services, to ensure that bad actors do not abuse such services.

13. The FCC has authorized and encouraged voice service providers to block
calls in specific circumstances. TCPA rule 47 C.F.R. § 64.1200(k) provides that voice
service providers may block calls so that they do not reach a called party when the calls
purport to originate from:

A. Numbers where the subscriber of the originating number has

requested that calls purporting to originate from that number be blocked

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because the number is used for inbound calls only (Do Not Originate list
numbers);

B. Numbers that are not valid under the North American Numbering Plan
(“NANP”);

iS. Valid NANP numbers that are not allocated to a provider by the
NANP Administrator or Pooling Administrator; and

D. Valid NANP numbers that are allocated to a provider by NANP or the
Pooling Administrator but are unused, so long as the provider blocking the
calls is allocatee of the number and confirms that the number is unused or
has obtained verification from the allocatee that the number is unused at the
time of the blocking.

14.  TCPA rule 47 C.F.R. § 64.1200(n)(3) provides that a voice service provider
must take affirmative, effective measures to prevent new and renewing customers from
using its network to originate illegal calls, including knowing its customers and exercising
due diligence in ensuring that its services are not used to originate illegal traffic.’

15. Defendants did not choose to regularly, if at all, block calls made from
telephone numbers that the FCC has authorized could be blocked so that those calls do not
reach a called party pursuant to 47 C.F.R. § 64.1200(k).

16. Defendants violated 47 C.F.R. § 64.1200(n)(3) by failing to take affirmative,
effective measures to prevent new and renewing customers from using its network to
originate illegal calls, including knowing its customers and exercising due diligence in
ensuring that its services are not used to originate illegal traffic.

17. Aswith Count I, the Plaintiffs bear the burden of proving the elements of this

TSR violation by a preponderance of the evidence. See para.7.

"In the Matter of Lingo Telecom, L.LC., Notice of Apparent Liability for Forfeiture,
File No. EB-TCD-24-00036425 (rel. May 28, 2024).

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COUNT III — By All Plaintiffs
Violations of the Federal TCPA — 47 U.S.C. §§ 227(b)(1)(A)(@iii) and (b)(1)(B)
and its implementing rule, 47 C.F.R. §§ 64.1200(a)(2) and (a)(3)
(Robocalls to Cellular and Residential Telephone Lines)
18. Plaintiffs allege that Defendants violated the TCPA under 47 U.S.C.

§§ 227(b)(1)(B) and (b)(1)(A)(i1i) by engaging in a pattern or practice of initiating
telephone calls to residential telephone lines and cellular telephone lines using artificial or
prerecorded voices to deliver messages without the prior express written consent of the
called party.

19. Plaintiffs further allege Defendants violated TCPA rule, 47 C.F.R.
§ 64.1200(a)(2), by engaging in a pattern or practice of initiating or causing telephone calls
to be initiated that include or introduce advertisements or constitute telemarketing to
cellular telephone lines using artificial or prerecorded voices to deliver messages without
the prior express written consent of the called parties.

20. Plaintiffs further allege Defendants violated TCPA rule, 47 C.F .R.
§ 64.1200(a)(3), by engaging in a pattern or practice of initiating telephone calls to
residential telephone lines using artificial or prerecorded voices to deliver messages
without the prior express written consent of the called parties.

21. The TCPA states that it is a violation for any person within the United States
to “make any call (other than a call made for emergency purposes or made with the prior
express consent of the called party) using...an artificial or prerecorded voice” to any
“cellular telephone service.” 47 U.S.C. § 227(b)(1)(A). Burke v. Direct Energy, LP, 2021
U.S. Dist. LEXIS 178408, *2 (S.D. Tex. Sept. 20, 2021).

22. The TCPA states that “[i]t shall be unlawful for any person within the United
States, or any person outside the United States if the recipient is within the United
States...to initiate any telephone call to any residential telephone line using an artificial or
prerecorded voice to deliver a message without the prior express consent of the call party,

unless the call is initiated for emergency purposes....” 47 U.S.C § 227(b)(1)(B).

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23. The TCPA prohibits the initiation of telephone solicitations to cellular
telephone lines using artificial or prerecorded voices. Mims v. Arrow Fin. Servs., LLC, 565
U.S. 368, 373 (2012); Lester v. Wells Fargo Bank N.A., 805 Fed Appx. 288, 289 (Sth Cir.
2020); Ybarra v. Dish Network, L.L.C., 807 F. 3d 635, 640 (Sth Cir. 2015); Thomas, 559
F. Supp. 3d at 562-63 (multiple unwanted phone calls with prerecorded messages give rise
to a concrete injury under the TCPA). Cellular phones were added to TCPA coverage in
2015 when the FCC recognized that the invasion of privacy from an unwanted call may be
greater “where the calls are received on a phone that the consumer may carry at all times.”
In the Matter of Rules and Regulations Implementing the Tel. Consumer Prot. Act of 1991,
30 FCC Red. 7961, 9124 (2015).

24. “The three elements of a TCPA claim [under Section 227(b)(1)] are: (1) the
defendant called a cellular telephone number; (2) using an automatic telephone dialing
system [or an artificial or prerecorded voice]; (3) without the recipient’s prior express
consent.” Shields v. Gawk Inc., No. 3:18-CV-00150, 2019 WL 1787781, at *3 (S.D. Tex.
Apr. 24, 2019), report and recommendation adopted, No. 3:18-CV-00150, 2019 WL
2103423 (S.D. Tex. May 14, 2019) (quoting Meyer v. Portfolio Recovery Assocs., LLC,
707 F.3d 1036, 1043 (9th Cir. 2012). The same analysis would apply to calls made to
residential lines. 47 C.F.R. § 64.1200(a)(3). The burden of proving a call was made with
the prior express consent of the called party lies with the seller or telemarketer. An
exemption from the general rule is treated as an affirmative defense for which the party
asserting the defense bears the burden of proof. Shaffer ex rel. Schaffer v. Weast, 546 U.S.
49, 126 S. Ct. 528, 534, 163 L. Ed. 2d 387 (2005) (burden of proof shifts to defendant when
element can be fairly characterized as an exemption); Tourgeman v. Nelson & Kennar, 900
F.3d 1105 (9th Cir. Cal. 2018.).

25. “Tobe liable under the ‘artificial or prerecorded voice’ section of the TCPA,
under Section 227(b)(1), a defendant must make a call and an artificial or prerecorded voice

must actually play.” Ybarra v. Dish Network, L.L.C., 807 F.3d 635, 640 (Sth Cir. 2015).

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“With a prerecorded voice, though, unless the recipient answers, an artificial or prerecorded
voice is never used.” Jd. at 641.

26. While the TCPA nor its rules define what it means to make or initiate
telephone calls, ‘one can violate the TCPA either by taking the steps necessary to
physically place a telephone call, or by being so involved in the placing of a specific
telephone call as to be deemed to have initiated it.” (quoting Mey v. All Access Telecom,
Inc., No. 5:19-CV-00237-JPB, 2021 WL 8892199, at *4 (Va. Apr. 23, 2021) (citing Rules
& Regs. Implementing the Tel. Consumer Prot. Act of 1991, 30 FCC Red. 7961, 7890
(2015) (the “2015 FCC Order’’)).

27. In determining whether a party “initiated” a call, the 2015 FCC Order
instructs courts to look at ‘the totality of the facts and circumstances surrounding the
placing of a particular call to determine: 1) who took the steps necessary to physically place
the call; and 2) whether another person or entity was so involved in placing the call as to
be deemed to have initiated it.” Jd. (citing 2015 FCC Order at § 30). With the respect to
this second prong, the FCC further states for those that offer calling platform services to
others to use, it will also consider as a factor whether they “knowingly allowed its client(s)
to use that platform for unlawful purposes.” Jd. The FCC Order identifies several relevant
factors, such as: “‘the extent to which a person willfully enables fraudulent spoofing of
telephone numbers’ and knowingly allowing the use of a platform for unlawful purposes.”
Id., see also Off. of the Att'y Gen. v. Smartbiz Telecom LLC, No. 1:22-CV-23945-JEM,
2023 WL 5491835 at *4 (Fla. Aug. 23, 2023); Mey, 2021 WL 8892199 at *5; Hurley v.
Messer, No. CV 3:16-9949, 2018 WL 4854082, at *4 (Va. Oct. 4, 2018) (finding that
alleging the ability to stop illegal use of VoIP services, and the failure to take action to do
so, states a claim under the TCPA).

28. Additionally, factors can include: “[t]he extent to which the defendant
controls the call’s message”; “[t]he extent to which the defendant controls the timing or

initiation of the call”; “[t]he extent to which the defendant controls who receives the call.”

Cunningham v. Montes, 378 F.Supp.3d 741, 747-48 (W.D. Wis. 2019).

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29. A person or entity, including a common carrier, can also be liable under the
TCPA if they provide “transmission facilities’ and demonstrate “a high degree of
involvement or actual notice of an illegal use and failure to take steps to prevent such
transmissions.” In the Matter of Rules & Reguls. Implementing the Tel. Consumer Prot.
Act of 1991, 7 F.C.C. Red. 8752, 954 (1992).

30.  “[AJn officer may be personally liable under the TCPA if he had direct,
personal participation in or personally authorized the conduct found to have violated the
statute, and was not merely tangentially involved. Individuals who directly (and here,
knowingly and wilfully) [sic] violate the TCPA should not escape liability solely because
they are corporate officers.” Texas v. Am. Blastfax, Inc., 164 F. Supp. 2d 892, 898 (W.D.
Tex. 2001).

31. Many “courts have held that corporate actors can be individually liable for
violating the TCPA where they had direct, personal participation in or personally
authorized the conduct found to have violated the statute.” Cunningham v. Britereal
Management, Inc., No. 4:20-CV-144, 2020 WL 7391693, at *5—6 (E.D. Tex. Nov. 20,
2020), adopted, 2020 WL 7388415 (E.D. Tex. Dec. 16, 2020)). "If an individual acting on
behalf of a corporation could avoid individual liability, the TCPA would lose much of its
force." Maryland v. Universal Elections, 787 F. Supp. 2d 408, 415-16 (D. Md. 2011).

COUNT IV — By All Plaintiffs
Violations of the Federal TCPA — 47 U.S.C. 8§ 227(c) and its
implementing rule, 47 C.F.R. § 64.1200(c)(2)
(Calls to Telephone Numbers on the National DNC Registry)

32. Plaintiffs allege that Defendants violated the TCPA by engaging in a pattern
or practice of initiating telephone solicitations to residential telephone subscribers whose
telephone numbers were listed on the National Registry in violation of 47 U.S.C. § 227(c)
and 47 C.F.R. § 64.1200(c)(2).

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33. The FCC Rule provides that “(c) No person or entity shall initiate any
telephone solicitation, as defined in paragraph (f)(12) of this section, to...(2) A residential
telephone subscriber who has registered his or her telephone number on the national do not
call registry of persons who do not wish to receive telephone solicitations that is maintained
by the Federal Government.” 47 C.F.R. § 64.1200(c)(2). Sellers and telemarketers must
honor the registration as long as the number remains on the National Registry. Id.
Consumers may add their wireless telephone numbers to the National Registry, as well as
their residential land lines. 47 C.F.R. § 64.1200(e).

34. To prevail on a TCPA count under 47 U.S.C. § 227(c), the plaintiff must
show that the call recipient (1) is a residential telephone subscriber who (2) registered that
telephone number with the Do Not Call Registry, and (3) nonetheless received an
unsolicited call to that number initiated by a person or entity. 47 C.F.R. § 64.1200(c)(2).
Lyman v. QuinStreet, Inc., No. 23-CV-05056-PCP, 2024 WL 3406992, at *3 (N.D. Cal.
July 12, 2024).

35. The National Registry was established in 2003 to enable individuals to avoid
receiving unwanted telemarketing calls. 47 C.F.R. § 64.1200(c)(2) prohibits making a
telemarketing call to a number listed on the National Registry without having an
established business relationship with the telephone subscriber. Thomas v. Life Protect
24/7 Inc., 559 F. Supp. 3d 554, 448 (S.D. Tex. 2021); Cunningham v. Mark D. Guidubaldi
& Assoc., 2019 U.S. Dist. LEXIS 38652, *4, adopted by, 2019 U.S. Dist. LEXIS 170945
(E.D. Tex. Jan. 11, 2019). The established business relationship provision is written as an
exemption to the general rule. An exemption from the general rule is treated as an
affirmative defense for which the party asserting the defense bears the burden of proof.
Shafjer ex rel. Schaffer v. Weast, 546 U.S. 49, 126 S. Ct. 528, 534, 163 L. Ed. 2d 387
(2005) (burden of proof shifts to defendant when element can be fairly characterized as an

exemption); Tourgeman v. Nelson & Kennar, 900 F.3d 1105 (9th Cir. Cal. 2018.).

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36. The established business relationship exemption for calls made to telephone
numbers on the Registry is inapplicable for callers initiating prerecorded telemarketing
calls. 47 U.S.C. § 227(b).

37. It is not necessary for the Plaintiffs to prove that the calls were made to the
person who registered the number on the National Registry, merely that the number is on
the Registry. United States v. Dish Network LLC, 75 F. Supp 3d 916,936 (C.D. Ill. Dec.
11,2014).

38. As the Plaintiffs alleged multiple violations of the TCPA and its
implementing rules, the basic standards of proof related to TCPA claims are the same such

that, paragraphs 26 through 31 also apply to this count.

COUNT V — By All Plaintiffs
Violations of the Federal Truth in Caller ID Act — 47 U.S.C. § 227(e)

(Prohibition Against Spoofing)
39. The TCPA, 47 U.S.C. § 227(e)(1) and 47 C.F.R. § 64.1604(a), prohibit any

person or entity within the United States, or any person or entity outside the United States
if the recipient is within the United States, with the intent to defraud, cause harm, or
wrongfully obtain anything of value, from knowingly causing, directly or indirectly, any
caller identification service to transmit misleading or inaccurate caller identification
information in connection with any voice service or text messaging service.

40. Inenforcement actions, the FCC has found that when an entity spoofs a large
number of calls in a robocall campaign, it causes harms to the subscribers of the numbers
that are spoofed, the consumers who receive the spoofed calls, and the terminating
providers forced to deliver calls to consumers and handle the “consumers” ire,” thereby

. . . a
increasing their costs.”

° John C. Spiller et al., File No.: EB-TCD-XX-XXXXXXX, Notice of Apparent Liability
for Forfeiture, 35 FCC Red 5948, 5957-61, paras 23-33 (2020).

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41. The FCC has further held when spoofing is done in conjunction with an
illegal robocalling campaign—itself a harmful practice—it indicates an intent to cause
harm.’

42. Defendants violated 47 U.S.C. § 227(e)(1) and 47 C.F.R. § 64.1604(a) by
knowingly causing the caller identification services of the recipients of their call traffic
with spoofed phone numbers to transmit misleading or inaccurate caller identification
information.

43. Defendants knew or should have known that they accepted and profited from
illegal robocalls with misleading or inaccurate spoofed phone numbers, which sought to
defraud, cause harm, or wrongfully obtain things of value from the call recipients.

44. As this count is also codified in the TCPA, Plaintiffs believe the same
standards will apply to determine whether Defendants can be deemed to have “initiated”
calls at issue, as well as whether the individual defendant can be held personally liable and
as such, paragraphs 26 through 31 are restated as applicable to this Count. In determining
whether a party “initiated” a call, the 2015 FCC Order instructs courts to look at ‘the totality
of the facts and circumstances surrounding the placing of a particular call to determine: 1)
who took the steps necessary to physically place the call; and 2) whether another person or
entity was so involved in placing the call as to be deemed to have initiated it.” 2015 FCC
Order at § 30. Specifically, the FCC noted that one of the factors to consider is the extent
to which a person willfully enables fraudulent spoofing of telephone numbers or assists
telemarketers in blocking Caller ID, by offering either functionality to clients, can be

relevant in determining liability for TCPA violations.

? Roesel Notice of Apparent Liability. 33 FCC Rcd at 9218-19, para. 40.

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COUNT VI- By State of California

Violations of Business and Professions Code Section 17200 (Unfair Competition)

45. Plaintiff, the People of the State of California, allege Count VI for violations
of California Business and Professions Code § 17200 et seq., California’s Unfair
Competition Law (UCL). The People of the State of California allege that Defendants
violated the UCL because they violated the Telemarketing Sales Rule (“TSR”) and the
Telephone Consumer Protection Act (“TCPA”). As a result, the People of the State of
California allege that Defendants may be enjoined and must be found liable for civil
penalties under California Business and Professions Code §§ 17204 and 17206,

respectively.

The UCL.

46. California’s UCL prohibits “any unlawful, unfair or fraudulent business act
or practice and unfair, deceptive, untrue or misleading advertising.” Cal. Bus. & Prof. Code
§ 17200. To bring a UCL claim, “a plaintiff must show either an (1) unlawful, unfair, or
fraudulent business act or practice or (2) unfair, deceptive, untrue or misleading
advertising.” Lippitt v. Raymond James Fin. Servs., Inc., 340 F.3d 1033, 1043 (9th Cir.
2003) (citing Cel-Tech Comm'ns, Inc. v. Los Angeles Cellular Tel. Co., 20 Cal. 4th 163,
180, 83 Cal.Rptr.2d 548, 973 P.2d 527 (1999)). Because the text “is written in the
disjunctive,” an act or practice may be challenged if it fits within any one of these three

prongs of unfair competition — unlawful, unfair, or fraudulent. Jd.

Violations of the TSR and TCPA are Violations of the Unlawful Prong of the UCL.

47. Unlawful business activity includes “anything that can properly be called a
business practice and that at the same time is forbidden by law.” Nat'l Rural
Telecommunications Co-op. v. DIRECTV, Inc., 319 F. Supp. 2d 1059, 1074 (C.D. Cal.
2003). “The ‘unlawful’ practices prohibited by the UCL ‘are any practices forbidden by

law, be it civil or criminal, federal, state, or municipal, statutory, regulatory or court-

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made.’” Jd. “By proscribing ‘any unlawful’ business practice, ‘section 17200 “borrows”
violations of other laws and treats them as unlawful practices’ that the unfair competition
law makes independently actionable.” City & Cnty. of San Francisco v. Purdue Pharma
L.P., 491 F. Supp. 3d 610, 684 (N.D. Cal. 2020) (citing Cel-Tech Comm'ns, Inc., 83
Cal.Rptr.2d 548 at 180).

Injunction and Civil Penalties.

48. In bringing an enforcement action under the UCL, the California Attorney

General is authorized to seek multiple remedies, including injunctive relief and civil

penalties. Cal. Bus. & Prof. Code §§ 17204 and 17206.

COUNT VII — By the State of Florida
Violations of Chapter 501, Part II, Florida Statutes
49. Plaintiff, State of Florida, Office of the Attorney General, Department of

Legal Affairs (“State of Florida”) brings Count VII for violations of Chapter 501, Part II,
Florida Statutes (“FDUTPA”). The State of Florida’s claim encompasses three legal
theories. First, Defendants violated the Telemarketing Sales Rule (“TSR”) and those
violations are defined as violations of FDUTPA. Second, the State of Florida alleges that
Defendants violated FDUTPA’s prohibition on deceptive trade practices. Third, the State
of Florida alleges that Defendants violated FDUTPA’s prohibition on unfair trade
practices. Finally, the State of Florida alleges that under any of these three theories
Defendants may be enjoined and may be liable for civil penalties if their conduct was

willful. The elements of each theory, in turn, are as follows.

Violations of the TSR are Defined as FDUTPA Violations.

50. The FDUTPA defines a “violation of this part” to include violations of “[a]ny
rules promulgated pursuant to the Federal Trade Commission Act.” § 501.203(3), Florida
Statutes. The TSR’s enabling statute is the Telemarketing and Consumer Fraud and Abuse

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Prevention Act (15 U.S.C. §§ 6101-08). Under 15 U.S.C. § 6102(c)(1), violations of the
TSR are treated as violations of rules passed under the Federal Trade Commission Act (15
U.S.C. § 57a). Violations of rules passed under the FTC Act are unfair and deceptive within
the scope of 15 U.S.C. § 45, as set forth in 15 U.S.C. § 57a(d)(3) liability are coextensive
with the elements of Count I, as set forth above.). See also United States v. Dish Network,
L.L.C., 75 F. Supp. 3d 942, 1004 (C.D. Ill. 2014) (“A violation of the TSR constitutes an
unfair and deceptive act or practice in violation of § 5(a) of the [Federal Trade
Commission] Act.”). Therefore, the elements of the State of Florida’s first theory of

liability are coextensive with the elements of Count I, as set forth above.

Deceptive Trade Practices in Violation of FDUTPA.

51. Under FDUTPA, a deceptive trade practice is one which is “likely to deceive
a consumer acting reasonably in the same circumstances.” Coleman v. CubeSmart, 328 F.
Supp. 3d 1349, 1361 (S.D. Fla. 2018) (quoting Carriuolo v. Gen. Motors Co., 823 F.3d
977, 983 (11th Cir. 2016)).* Whether a practice is likely to mislead is determined based on
the net impression it creates on a reasonable consumer. FTC v. RCA Credit Servs., LLC,
727 F. Supp. 2d 1320, 1329 (M.D. Fla. 2010). See also Matter of Cliffdale Assocs., Inc.,
103 F.T.C. 110 (1984); Fed. Trade Comm'n v. On Point Glob. LLC, No. 19-25046-CIV,
2021 WL 4892228, at *8 (S.D. Fla. Sept. 29, 2021) (“the term ‘deceptive’ is meant to be
‘flexible,’ and courts must look to the ‘overall, net impression rather than the literal truth
or falsity of the words.””) (quoting FTC v. Colgate-Palmolive Co., 380 U.S. 374, 384-85
(1965)).

* FDUTPA state that in construing unfair and deceptive trade practices, “due
consideration and great weight shall be given to the interpretations of the Federal Trade
Commission and the federal courts” relating to the Federal Trade Commission Act, 15
U.S.C. s. 45(a)(1). § 501.204(2).

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Unfair Trade Practices in Violation of FDUTPA.

52. Under FDUTPA, and unfair trade practices is one which 1) causes risk of
substantial injury, that 2) must not be outweighed by any countervailing benefits to
consumers or competition that the practice produces, and 3) must be an injury that

consumers themselves could not reasonably have avoided. Porsche Cars N. Am., Inc. v.

Diamond, 140 So. 3d 1090, 1096 (Fla. Dist. Ct. App. 2014).

Injunction and Civil Penalties.

53. When seeking injunctive and other statutory relief, the Attorney General
need not establish actual damages, irreparable harm, lack of an adequate legal remedy, or

that an injunction is in the public interest, and need only show a clear right to an injunction
by establishing that Defendant’s practices violate FDUTPA. Off of Att'y Gen. v. Bilotti,
267 So. 3d 1,3 (Fla. Dist. Ct. App. 2019). Under FDUTPA, civil penalties may be imposed
against “any person, firm, corporation, association, or entity, or any agent or employee of
the foregoing, who is willfully using, or has willfully used, a method, act, or practice
declared unlawful under s. 501.204.” § 501.2075, Fla. Stat. “Willful violations occur when
the person knew or should have known that his or her conduct was unfair or deceptive or

prohibited by rule.” § 501.2075, Florida Statutes.

COUNT VIII — By the State of Indiana

Violations of the Telephone Solicitation of Consumers Act (the “TSCA”)
Indiana Code 24-4.7-4

54. To make a showing that Defendants violated Indiana’s Telephone
Solicitation of Consumers Act (““TCSA”), Plaintiff State of Indiana will need to show that
Defendants provided substantial assistance or support to a “telephone solicitor, a supplier,
or a caller” that violated the TSCA. Further, Plaintiff State of Indiana will need to show
that Defendants knew or consciously avoided knowing that the “telephone solicitor, a

supplier, or a caller” was violating the TSCA.

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55. As Defendants already admitted that Defendant Avid Telecom had not
applied for a Certificate of Territorial Authority (“CTA”) with Indiana’s Utility Regulatory
Commission, thus Plaintiff has a lower burden of proof in showing that Defendants
provided substantial assistance or support. See Ind. Code § 24-4.7-4-7(e).

56. Ind. Code § 24-4.7-4-7(e) prohibits that a “person may not provide
substantial assistance or support to a telephone solicitor, a supplier, or a caller if the person
knows or consciously avoids knowing that the telephone solicitor, supplier, or caller has
engaged in any act or practice that violates” the TSCA.

57. Further, “A telephone solicitor, a supplier, or a caller may not provide
substantial assistance or support to another person if the telephone solicitor, supplier, or
caller knows or consciously avoids knowing that the person has engaged in any act or
practice that violates” the TSCA. Ind. Code § 24-4.7-4-7

58. Ind. Code. § 24-4.7-2-1.7 defines caller as an individual or entity that
attempts to contact or contacts a “a subscriber in Indiana by using a telephone or telephone
line.” Ind. Code § 24-4.7-2-5 defines “doing business in Indiana” as making or causing
other to make “telephone sales calls to consumers located in Indiana whether the telephone
sales calls are made from a location in Indiana or outside Indiana.” Further, a person that
controls, directly or indirectly, one or more persons to make or cause to make telephone
calls to “a consumer located in Indiana is “doing business in Indiana’, no matter where the
person is located or domiciled.”

59. 11 IAC 1-1-7 defines “residential telephone subscriber’ as an individual who
subscribes to or for another person with the individual’s residential address, including: a
landline, wireless, or interconnected VoIP.

60. Ind. Code § 24-4.7-2-7 defines “listing” as “the no telephone sales
solicitation listing published by the division under IC 24-4.7-3 that lists the telephone

numbers of consumers who do not wish to receive telephone sales calls.”

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61. Ind. Code § 24-4.7-2-4 defines “division” as “the consumer protection
division of the office of the attorney general.” Indiana’s Do Not Call List can be found
here: https://www.indonotcall.org/.

62. Under the TSCA, a telephone solicitor may not make or cause others to make
a telephone sales call to an Indiana consumer’s telephone number that appears on the most
current quarterly Indiana Do Not Call List. Ind. Code § 24-4.7-4-1.

63. A “telephone sales call” is a telephone call made to a consumer for the
solicitation of consumer goods or services or a telephone call to obtain information that
may be used for the direct solicitation of consumer goods or services. This includes the use
of a recorded message device. Ind. Code § 24-4.7-2-9.

64. Indiana law does not directly define "consciously avoids knowing" and
“substantial assistance.” Ind. Code § 24-4.7-4-7(e) is nearly identical to the Telemarketing
Sales Rule's (“TSR”) assisting and facilitating provision. See 16 C.F.R. § 310.3(b) (“It isa
deceptive telemarketing act or practice and a violation of this Rule for a person to provide
substantial assistance or support to any seller or telemarketer when that person knows or
consciously avoids knowing that the seller or telemarketer is engaged in any act or practice
that violates... this Rule.’’).

65.  Indefining “substantial assistance,” courts have defined it as requiring more
than casual or incidental help to a telemarketer. See 16 C.F.R. § 310.3(b); FTC v. Chapman,
714 F.3d 1211, 1216 (10th Cir. 2013) (quoting FTC, Complying with the Telemarketing
Sales Rule, available at _ http://business.ftc.gov/documents/bus27-complying-
telemarketing-sales-rule#assisting (Feb. 2011)); Consumer Financial Protection Bureau v.
Nesheiwat, No. 21-56052, 2022 WL 17958636, at *1 (9th Cir. Dec. 27, 2022); FTC v.
Consumer Health Benefits Ass'n, No. 10-CV-3551 (ILG), 2011 WL 3652248, at *5
(E.D.N.Y. Aug. 18, 2011) (quoting Telemarketing Sales Rule, 60 Fed. Reg. 43842-01,
43852 (Aug 23, 1995)). There must be some link between the third party’s actions and the
telemarketer, but not necessarily a direct connection. See Chapman, 714 F.3d at 1216. For

example, someone who provides lists of contacts to a seller or telemarketer, drafts the

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language used for telemarketing, or makes available incentives to be used in the
telemarketing, provides substantial assistance. See Statement of Basis and Purpose and
Final Rule, Telemarketing Sales Rule, 60 Fed. Reg. 43,842, 43,852 (Aug. 23, 1995).

66. A person consciously avoids knowing about a violation when “there are facts
and evidence that support an inference of deliberate ignorance.” Statement of Basis and
Purpose and Final Rule, Telemarketing Sales Rule, 60 Fed. Reg. 43,842, 43,852 n.106
(Aug. 23, 1995) (citing United States v. Williams, 32 F.3d 570, at *6 (7th Cir. 1994)); see
FTC v. Chapman, 714 F.3d 1211, 1219 (10th Cir. 2013) (quoting FTC, Complying with
the Telemarketing Sales Rule, available at _https://www.ftc.gov/business-
guidance/resources/complying-telemarketing-sales-rule (Feb. 2011)) (“[T]aking deliberate
steps to ensure one's own ignorance of a seller or telemarketer's Rule violations is an
ineffective strategy to avoid liability.”). Knowledge can be inferred from a combination of
suspicion and indifference to the truth. See United States v. Salinas, 763 F.3d 869, 875 (7th
Cir. 2014) (discussing the “ostrich instruction”); Global-Tech Appliances, Inc. v. SEB S.A.,
563 U.S. 754, 769 (2011) (finding that a willfully blind defendant takes deliberate actions
to avoid confirming a high probability of wrongdoing). Further, "knowledge of the agent
is imputed to the principal." United States v. Dish Network L.L.C., 954 F.3d 970, 978 (7th
Cir. 2020).

67. Further, the Attorney General may obtain these remedies separately against
or from each person that violates the Ind. Code § 24-4.7-4-1, including a person that

directly or indirectly controls a person that violates Ind. Code § 24-4.7-4-1.

COUNT IX — By the State of Maryland

Violations of the Maryland Telephone Consumer Protection Act, Md. Code Ann.,

Com. Law § 14-3201, et seq.
68. The claims brought by Maryland are pursuant to the §§ 14-3201(1) and (2)

of Maryland Telephone Consumer Protection Act, Md. Code Ann., Com. Law § 14-3201,

et seq, which simply incorporates under state law the protections that exist under the

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Telemarketing under and Consumer Fraud and Abuse Prevention Act, 15 U.S.C. §§ 6101
through 6108, as implemented by the Federal Trade Commission in the Telemarketing
Sales Rule (16 C.F.R. Part 310) and the Telephone Consumer Protection Act, 47 U.S.C. §
227, as implemented by the Federal Communications Commission in the Restrictions on

Telemarketing and Telephone Solicitations Rule (47 C.F.R. Part 64, Subpart L).

COUNT X - By the State of Nevada

Violations of the Nevada Telecommunication Solicitation Act

Chapter 228.500 to 228.590

69. The Nevada Telecommunication Solicitation Act (“NTSA”), Nevada
Revised Statutes (“NRS”) Chapter 228.500 to 228.590, also known as Nevada’s Do Not
Call Law, prohibits telephone solicitors from making unsolicited telephone calls for the
sale of goods or services to a telephone number on Nevada's registry.

70. Under NRS 228.520, a “telephone solicitor’ means a person who makes or
causes another person or a machine to make an unsolicited telephone call for the sale of
goods or services.

71. Under NRS 228.530(a)-(d), an “unsolicited telephone call for the sale of
goods or services” means an unsolicited telephone call, other than a telephone call on
behalf of a charitable organization, religious organization or political organization, to (a)
Rent, lease, sell, exchange, promote or gift any good or service; (b) Solicit any act
described in paragraph (a); (c) Seek or obtain a donation or contribution of money or
anything else of value; or (d) Seek or obtain information, including, without limitation,
any document, intended to be used to facilitate any act described in paragraph (a), (b) or
(c).

72. Plaintiff State of Nevada alleges and affirms that Defendants violated the
NTSA by intentionally making unsolicited telephone calls for the sale of goods or services

to telephone numbers in the currently effective version of the list of telephone numbers in

the registry. NRS 228.590.

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73. Additionally, pursuant to NRS 228.620, a violation of the NTSA constitutes
a deceptive trade practice for the purposes of NRS 598.0903 to 598.0999, inclusive, in
violation of NDTPA. As such, Plaintiff State of Nevada alleges and affirms that
Defendants, by violating the NTSA, have also committed a deceptive trade practice for the
purposes of NDTPA.

74. Furthermore, a person’s intent to “knowingly” violate the NDTPA, NRS
chapter 598, does so by being aware that the facts exist that constitute the act or omission.
Poole v. Nevada Auto Dealership Invs., LLC, 135 Nev. 280, 284, 449 P.3d 479, 483 (Nev.
App. 2019).

COUNT XI - By the State of Nevada

Violations of the Nevada Law — Devices for Automatic Dialing and Announcing

Chapter 597 ef seq.
75. Under Nevada Revised Statute (NRS) 597.814, a person is prohibited from

using a device for automatic dialing and announcing to disseminate a prerecorded message
in a telephone call.

76. Tomakea showing that Defendants violated NRS 597.814(1), Plaintiff State
of Nevada will show Defendants used a device for automatic dialing and announcing in
their use of any equipment that (1) incorporates a storage capability of telephone numbers
to be called and utilizes a random or sequential number generator producing telephone
numbers to be called and (2) used exclusively, working alone or in conjunction with other
equipment, to disseminate a prerecorded message to the telephone number called to solicit
a person at the telephone number called to purchase goods or services. See NRS 597.812.

77. Under NRS 597.814(1), Plaintiff State of Nevada will show that Defendants
disseminated a prerecorded message in a telephone call which was not preceded by a
recorded or unrecorded natural voice that (1) informed the person who answers the
telephone call of the nature of the call, including, without limitation, the fact that a device

for automatic dialing and announcing will be used to disseminate the message if the person

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who answers the call remains on the line; and (2) provides to the person who answers the
telephone call the name, address and telephone number of the business or organization, if
any, being represented by the caller.

78. Under NRS 597.814(2), a person is prohibited from operating a device for
automatic dialing and announcing to place a call-back or second call to the same telephone
number if the person at the telephone number terminated the original call. Plaintiff State
of Nevada will show Defendants violated NRS 597.814(2) by placing call-backs or second

calls.

COUNT XII — By the State of Nevada

Violations of the Nevada Deceptive Trade Practices Act, Chapter 598 ef seq.

79. Under NRS 598.0916, a person engages in a deceptive trade practice when,
in the course of his or her business or occupation, he or she disseminates an unsolicited
prerecorded message to solicit a person to purchase goods or services by telephone and he
or she does not have a preexisting business relationship with the person being called unless
a recorded or unrecorded natural voice informs the person who answers the telephone call
of the nature of the call, and provides to the person who answers the telephone call the
name, address and telephone number of the business or organization, if any, represented
by the caller.

80. Pursuant to NRS 598.0918(2), a person engages in a deceptive trade practice
when, in the course of his or her business or occupation, he or she repeatedly or
continuously conducts the solicitation or presentation in a manner that is considered by a
reasonable person to be annoying, abusive, or harassing.

81. Pursuant to NRS 598.0923(1)(c), a person engages in a deceptive trade
practice when in the course of his or her business or occupation, he or she knowingly
violates a state or federal statute or regulation related to the sale or lease of goods or
services. In Poole v. Nevada Auto Dealership Invs., LLC, the Nevada Court of Appeals

“conclude[ed] that a “knowing[ ]” act or omission under the NDTPA does not require that

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the defendant intend to deceive with the act or omission, or even know of the prohibition
against the act or omission, but simply that the defendant is aware that the facts exist that
constitute the act or omission.” Poole v. Nevada Auto Dealership Invs., LLC, 135 Nev. 280,
284, 449 P.3d 479, 483 (Nev. App. 2019).

82. Defendants’ conduct in transmitting fraudulent robocalls to consumers in
Nevada is in violation of provisions of Federal law, including without limitation, the
Telemarketing Sales Rule, 16 C.F.R. Part 310 via 15 U.S.C. § 6103(a) and provisions of
federal law identified herein.

83. Defendants knowingly violated the laws set forth in paragraph 14, above,
because Defendants knew or should have known that the robocalls were in violation of
those laws.

84. Pursuant to NRS 598.0923(1)(e), a person engages in a deceptive trade
practice when in the course of his or her business or occupation, he or she knowingly uses
an unconscionable practice in a transaction.

85. Defendants took advantage of the lack of knowledge, ability, experience or
capacity of Nevada consumers to a grossly unfair degree by transmitting calls and carrying
out attendant acts regarding those calls as alleged herein, thereby committing an
unconscionable practice in a transaction in violation of NRS 598.0923(1)(e).

86. Defendants’ violations of the Nevada Do Not Call Law, and/or the NDTPA,
and/or other statutory provisions as alleged herein, are subject to injunctions and/or
restitution and/or civil penalties and/or damages and/or its costs and attorney’s fees
pursuant to NRS 597.818, 598.0963, and 598.0999.

87. Under NRS 597.818, a person who uses a device for automatic dialing and
announcing in violation of NRS 597.814, is guilty of (a) a misdemeanor for a first offense,
(b) a gross misdemeanor for a second offense, and (c), a category E felony and shall be
punished as provided in NRS 193.130 for a third and any subsequent offense. See NRS
597.818(1). In addition to any other penalty, a person who violates any provision of NRS
597.814 is subject to a civil penalty of not more than $10,000 for each violation. See NRS

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597.818(3). Furthermore, a violation of any provision of NRS 597.814 constitutes a
deceptive trade practice for the purposes of NRS 598.0903 to 598.0999, inclusive. See
NRS 597.818(4).

88. Where “the Attorney General has reason to believe that a person has engaged
or is engaging in a deceptive trade practice the State may bring an action for a permanent
injunction under NRS 598.0963(3). Additionally, NRS 598.0963(3) allows fora permanent
injunction based upon either past or ongoing violations. Jd.

89. Under NRS 598.0999(2), “if the court finds that a person has willfully
engaged in a deceptive trade practice... the Attorney General bringing the action may
recover a civil penalty not to exceed $15,000 for each violation.” Furthermore, the court in
any such action may, in addition to any other relief or reimbursement, award reasonable
attorney’s fees and costs. Jd.

90. Defendants’ violations of the NDTPA are further subject to additional
penalties for acts committed against consumers in Nevada over the age of 60 or disabled
consumers pursuant to NRS 598.0973. For a deceptive trade practice directed toward an
elderly person not more than $25,000 for each violation shall be imposed. See NRS
598 .0973(b). For a deceptive trade practice directed toward a person with a disability, not
more than $15,000 for each violation shall be imposed. See NRS 598.0973 (a).

COUNT XIII —- By the State of New York
Violations of New York General Business Law § 399-z
Pursuant to New York Executive Law § 63(12)

91. The plaintiffs must prove that the defendant violated General Business Law
§ 399-z by establishing:
A. — The defendant is a “telemarketer” or “seller” and
i. “Telemarketer? means any person who, for financial profit or
commercial purposes in connection with telemarketing, makes

telemarketing sales calls or electronic messaging texts to a customer

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when the customer is in [New York State] or any person who directly
controls or supervises the conduct of a telemarketer.” GBL § 399-
z(1)(h).

il. ““Telemarketing sales call’ means a telephone call or
electronic messaging text made directly or indirectly by a telemarketer
or by any outbound telephone calling technology that delivers a
prerecorded message to a customer or to a customer's voicemail or
answering machine service, in which such telephone call or electronic
messaging text is for the purpose of inducing payment or the exchange
of any other consideration for any goods or services[.]” GBL § 399-
z(1)(j).

iii. | “Commercial purposes” means “the sale or offer for sale of
goods or services[.]” GBL § 399-z(1)(h).

The defendant engaged in one of the following:

i. The defendant “ma[d]e or cause[d] to be made any unsolicited
telemarketing sales call to any customer when that customer's
telephone number has been on the national ‘do-not-call’ registry,
established by the federal trade commission, for a period of thirty-one
days prior to the date the call is made, pursuant to 16 C.F.R. Section
310.4(b)(1)(@u)(B).” GBL § 399-z(S).

il. The defendant “initiat[ed] any telemarketing sales call by
means of a technology that delivers a pre-recorded message, unless
the telemarketer or seller has obtained from the customer’ prior

express written consent. GBL § 399-z(6).

The plaintiffs must prove that those violations satisfy Executive Law §

The defendant engaged in “repeated ... illegal acts ... in the carrying

on, conducting or transaction of business.” Exec. L. § 63(12).

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i. “Repeated” means any number of “separate and distinct ...
illegal acts which affected more than one individual.” People v. 21st
Century Leisure Spa Int’l Ltd., 153 Misc. 2d 938, 944 (Sup. Ct. N.Y.
Cnty. 1991).

ii. “Tllegal acts” means acts that violate any law, including New
York’s General Business Law. See, e.g., People v. Applied Card Sys.,
Inc., 27 A.D.3d 104, 104 (3d Dep’t 2005), affd, 11 N.Y.3d 105
(2008); People v. Telehublink, 301 A.D.2d 1006, 1006 (3d Dep’t
2003).

COUNT XIV- By the State of New York
Violations of New York General Business Law § 399-p

93. The plaintiffs must prove each of the following elements pursuant to General
Business Law § 399-p:

A. The defendant is “any natural person, firm, organization, partnership,

association or corporation, or other entity, whether for-profit or not-for-

profit[.]”’ GBL § 399-p(1)(b).

B. The defendant acted “as an ... agent ... of a person operating

automatic dialing-announcing devices[.]” GBL § 399-p(2).
i. “Automatic dialing-announcing device’ means any automatic
equipment which incorporates a storage capability of telephone
numbers to be called and is used, working alone or in conjunction with
other equipment, to disseminate a prerecorded message to the
telephone number called without the use of an operator[.]” GBL §
399-p(1)(a).
il. “A principal-agent relationship may be established by evidence
of the consent of one person to allow another to act on his or her behalf

and subject to his or her control, and consent by the other so to act[.]”

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Time Warner City Cable v. Adelphi Univ., 27 A.D.3d 551, 552 (2d
Dep’t 2006) (citations omitted).
i. The “automatic dialing-announcing device ... use[d] a random or

sequential number generator to produce a number to be called.” GBL § 399-

p(4).

COUNT XV — By the State of North Carolina

Violations of the North Carolina Telephone Solicitations Act
N.C. Gen. Stat. §§ 75-100 to 75-105
94. The Plaintiff State of North Carolina alleged in Count XV that Defendants
violated the North Carolina Telephone Solicitations Article of Chapter 75 of the North
Carolina General Statutes, N.C.G.S. §§ 75-100 to 75-105, in three ways: by making

telephone solicitations to telephone subscribers’ numbers on the “Do Not Call” Registry,
see N.C.G.S. § 75-102(a), (d); by making unsolicited prerecorded telephone calls, see
N.C.G.S. § 75-104; and by failing to comply with the requirements of several enumerated
sections of the FTC’s Telemarketing Sales Rule, see 16 C.F.R. §§ 310.3 to 310.5, N.C.G:S.
§ 75102(e).

95. With respect to calls made to persons on the “Do Not Call” Registry, North
Carolina’s Do-Not-Call Law provides that no telephone solicitor shall make a telephone
solicitation to a North Carolina telephone subscriber’s telephone number if the subscriber’s
telephone number appears in the latest edition of the National Do Not Call Registry.
N.C.G.S. § 75-102(a). The “‘Do Not Call’ Registry” is created and maintained by the
Federal Trade Commission pursuant to the Telemarketing Sales Rule. N.C.G.S. § 75-
101(3). The term “telephone solicitor” means an individual or entity that, directly or
through agents, makes or attempts to make telephone solicitations or causes telephone
solicitations to be made. N.C.G.S. § 75-101(10). “Telephone solicitor” also includes any
party defined as a “telemarketer” under the FTC’s Telemarketing Sales Rule, 16 C.F.R.
Part 310. N.C.G.S. § 75-101(10). The term “telephone subscriber” means an individual

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who subscribes to a residential telephone service from a provider, including a wireless
telephone company. N.C.G.S. § 75101(11). The term “telephone solicitation” means a
voice or text communication, whether prerecorded, live, over a telephone line or wireless
telephone network that is made by a telephone solicitor to a telephone subscriber for the
purpose of soliciting or encouraging the purchase of goods or services, or obtaining
information that will or may be used for that purpose. N.C.G.S. § 75101(9). “Telephone
solicitation” also includes those transactions that are defined as “telemarketing” under the
FTC’s Telemarketing Sales Rule. 16 C.F.R. Part 310.

96. With respect to unsolicited prerecorded calls, the Telephone Solicitations
Article of Chapter 75 of the North Carolina General Statutes, N.C.G.S. § 75-104, provides
that, subject to some exceptions, no person may use an automatic dialing and recorded
message player to make an unsolicited telephone call. N.C.G.S. § 75-104(a). An
“unsolicited telephone call” is a voice or text communication, whether prerecorded, live,
or a facsimile, over a telephone line or wireless telephone network that is made by a person
to a telephone subscriber without prior express invitation or permission. N.C.G.S.
§ 75101(12). A “person” is defined as any individual, business establishment, business, or
other legal entity. N.C.G.S. § 75101(7). “Express invitation or permission” is “[a]ny
invitation or permission that is registered by the telephone subscriber on an independent
form and that contains the telephone number to which calls can be placed and the signature
of the telephone subscriber.” N.C.G.S. § 75-101(6). An “automatic dialing and recorded
message player” means, in relevant part, any automatic equipment that incorporates a
storage capability of telephone numbers to be called that, working alone or in conjunction
with other equipment, disseminates a prerecorded message to the telephone number called.
N.C.G.S. § 75101(2).

97. Finally, with respect to complying with the requirements of the FTC’s
Telemarketing Sales Rule, N.C.G.S. § 75-102(e) provides that no telephone solicitor shall
violate any requirement of section 310.3 of the Telemarketing Sales Rule (Deceptive

telemarketing acts or practices), section 310.4 of the Telemarketing Sales Rule (Abusive

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telemarketing acts or practices), or section 310.5 of the Telemarketing Sales Rule (Record
keeping requirements). 16 C.F.R. §§ 310.3 through 310.5.

98. Therefore, to prove that Defendants violated the North Carolina Telephone
Solicitations Article of Chapter 75 of the North Carolina General Statutes, N.C.G.S. §§ 75-
100 to 75-105, as alleged in Count XV, the Plaintiff State of North Carolina must prove
the following:

A. In violation of N.C.G.S. § 75-102(a),(d), Defendants are “telephone
solicitors,” as defined by N.C.G.S. § 75-101(10), who made “telephone
solicitations,” as defined by N.C.G.S. § 75-101(9), to North Carolina
“telephone subscribers,” as defined by N.C.G.S. § 75-101(11), whose
telephone numbers were in the National “Do Not Call” Registry as defined
by N.C.G:S. § 75-101(3);

B. In violation of N.C.G.S. § 75-104, Defendants used an “automatic
dialing and recorded message player,” as defined by N.C.G.S. § 75-101(2),
to make “unsolicited” telephone calls, as defined by N.C.G.S. § 75-101(12);
or

C. In violation of N.C.G.S. § 75-102(e), Defendants are “telephone
solicitors,” as defined by N.C.G.S. § 75-101(10), who failed to comply with
requirements of the FTC’s Telemarketing Sales Rule, 16 C.F.R. §§ 310.3
through 310.5.

COUNT XVI - By the State of North Carolina

Violations of North Carolina’s Unfair or Deceptive Trade Practices Act
N.C. Gen. Stat. §§ 75-1.1, et seq.
99. The Plaintiff State of North Carolina alleged in Count XVI that Defendants
violated North Carolina’s Unfair or Deceptive Trade Practices Act, N.C.G.S. §§ 75-1.1, et

seq. by failing to comply with the requirements of the FTC’s Telemarketing Sales Rule
(TSR). See 16 C.F.R. § 310.3; N.C.G.S. § 75-102(e) (providing that “no telephone solicitor

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shall violate any requirement of section 310.3 of the Telemarketing Sales Rule (Deceptive
telemarketing acts or practices)’).

100. In order to establish a prima facie claim for unfair and deceptive trade
practices in North Carolina, the Attorney General must show: (1) Defendants committed
an unfair or deceptive act or practice and (2) the action in question was in or affecting
commerce. Dalton v. Camp, 353 N.C. 647, 656, 548 S.E.2d 704, 711 (2001) (citing Spartan
Leasing Inc. v. Pollard, 101 N.C. App. 450, 461, 400 S.E.2d 476, 482 (1991)). Proof of
actual injury is not required when such action is brought by the North Carolina Attorney
General. State ex rel. Edmisten v. Challenge, Inc.,54 N.C. App. 513, 522, 284 S.E.2d 333,
339 (1981) (“[T]here is no suggestion in our own statutory scheme that the Attorney
General would be required to prove such actual injury.” (quoting Mayton v. Hiatt’s Used
Cars, Inc., 45 N.C. App. 206, 211, 262 S.E.2d 860, 863 (1980))).

101. Acts or practices are unfair under N.C.G.S. § 75-1.1 when they offend
established public policy, as well as when the practice is immoral, unethical, oppressive,
unscrupulous, or substantially injurious to consumers. Under N.C.G:S. § 75-1.1, a practice
or act is deceptive if it has the capacity or tendency to deceive; proof of actual deception is
not required. See, e.g., Marshall v. Miller, 302 N.C. 539, 542, 548, 276 S.E.2d 397, 399,
403 (1981) (providing that state courts have generally ruled that the [plaintiff] need only
show that an act or practice possessed the tendency or capacity to mislead, or created the
likelihood of deception, in order to prevail under the states’ unfair and deceptive practices
act” (internal citations omitted)). Moreover, “per se violations of § 75—1.1 [may be]
established upon proof of a statutory or regulatory violation.” Sparks v. Oxy-Health, LLC,
134 F. Supp. 3d 961, 997 (E.D.N.C. 2015). Similarly, acts or practices that are unfair or
deceptive trade practices under the TSR are also deceptive or misleading and constitute

unfair or deceptive trade practices prohibited by North Carolina’s Unfair or Deceptive

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Trade Practices Act.? N.C.G.S. §§ 75-1.1, 102(e); see also, e.g., Marshall v. Miller, 302
N.C. 539, 542, 548, 276 S.E.2d 397, 399, 403 (1981) (finding that “federal decisions
interpreting the FTC Act may be used as guidance in determining the scope and meaning
of G.S. 75-1.1” (internal citations omitted)).

102. With respect to whether acts or practices are in or affecting commerce within
the State of North Carolina, the UDTPA defines “commerce” to include all business
activities, however denominated, but not professional services rendered by a member of a
learned profession. N.C.G.S. § 75—1.1(b). “‘Business activities' is a term which connotes
the manner in which businesses conduct their regular, day-to-day activities, or affairs, such
as the purchase and sale of goods, or whatever other activities the business regularly
engages in and for which it is organized.” HAJMM Co. v. House of Raeford Farms, Inc.,
328 N.C. 578, 592, 403 S.E.2d 483, 492 (1991). And with respect to business activity in
the form of telephone solicitations, N.C.G.S. 75-101(4) specifies that a person shall be
considered to be “doing business in this State” if they “make or cause to be made any
telephone solicitation to North Carolina telephone subscribers, whether the telephone
solicitations are made from a location inside North Carolina or outside North Carolina.”

103. Therefore, to prove that Defendants violated North Carolina’s Unfair or
Deceptive Trade Practices Act, N.C.G.S. §§ 75-1.1, et seq., by failing to comply with the
requirements of the FTC’s Telemarketing Sales Rule (TSR), see 16 C.F.R. § 310.3, as
alleged in Count XVI, the Plaintiff State of North Carolina must prove the following:

A. Defendants committed an unfair or deceptive act or practice; and
B. Defendants’ acts or practices were in or affecting commerce within

the State of North Carolina.

> Pursuant to Section 3(c) of the Telemarketing Act, 15 U.S.C. § 6102(c), and Section
18(d)(3) of the FTC Act, 15 U.S.C. § 57a(d)(3), a violation of the TSR constitutes an unfair
or deceptive act or practice in or affecting commerce, in violation of Section S(a) of the
FTC Act, 15 U.S.C. § 45(a). See United States v. Dish Network, L.L.C., 75 F. Supp. 3d
942, 1004 (C.D. Ill. 2014) (“A violation of the TSR constitutes an unfair and deceptive act
or practice in violation of § 5(a) of the [Federal Trade Commission] Act.”).

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COUNT XVII — By the State of North Dakota

North Dakota — Violations of the Unlawful Sales or Advertising Practices law
N.D.C.C. ch. 51-15 — Facilitating and Assisting
104. In Count XVII of the Complaint, Plaintiff State of North Dakota alleges

Defendants violated N.D.C.C. § 51-15-02.3 by providing assistance or support to any
person engaged in any act or practice or practice in violation of N.D.C.C. ch. 51-15 when
the Defendants knew or consciously avoided knowing that the other person was engaged
in an act or practice in violation of N.D.C.C. ch. 51-15. Pursuant to N.D.C.C. § 51-28-17,
a violation of N.D.C.C. ch. 51-28 constitutes a violation of N.D.C.C. ch. 51-15. To prevail
on this Count, Plaintiff State of North Dakota will need to show that:
A. _ A third party violated the North Dakota Telephone Solicitations Act,
Ch. 51-28, N.D.C.C., and/or North Dakota’s Unlawful Sales or Advertising
Practices law, Ch. 51-15, N.D.C.C., by engaging in the one of the following:
i. “ma[d]e or cause[d] to be made any telephone solicitation to
the telephone line of any subscriber [in North Dakota] who, for at least
thirty-one days before the date the call is made... has been on the
national do-not call registry established by the federal trade
commission under title 16, Code of Federal Regulations, part 310.”
See N.D.C.C § 51-28-06; or
ii. “use[d] or connect[ed] to a telephone line an automatic dialing-
announcing device or deliver a prerecorded or synthesized voice
message to a subscriber unless the subscriber has knowingly
requested, consented to, permitted, or authorized receipt of the
message or the message is immediately preceded by a live operator
who obtains the subscriber’s consent before the message is
delivered...” See N.D.C.C. § 51-28-02; or
iii. | Deceptive acts and practices in violation of N.D.C.C. § 51-15-

02, which requires a showing that:

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a. Defendants acted, used, or employed any deceptive act
or practice, fraud, false pretense, false promises, or
misrepresentation;
b. With the intent that others rely thereon; and
c. In connection with the sale or advertisement of any
merchandise.”
B. Defendants provided assistance or support to the third party engaged
in any act or practice in violation of North Dakota’s Unlawful Sales or
Advertising Practices Act., Ch. 51-15, N.D.C.C., including any violations of
the North Dakota Telephone Solicitations Act, Ch. 51-28. See N.D.C.C. §
51-15-02.3; N.D.C.C. § 51-28-17; and
C. Defendants knew or consciously avoided knowing that the third party
was engaged in acts or practices violating North Dakota’s Unlawful Sales or
Advertising Act, Ch. 51-15, N.D.C.C, including any violations of the North
Dakota Telephone Solicitations Act, Ch. 51-28. See N.D.C.C. § 51-15-02.3;
N.D.C.C. § 51-28-17.

105. N.D.C.C. § 51-28-01(2) defines “Caller” as “...a person, corporation, firm,
partnership, association, or legal or commercial entity that attempts to contact, or that
contacts, a subscriber in [North Dakota] by using a telephone or a telephone line.”
N.D.C.C. § 51-28-01(2).

106. “Telephone solicitation” is defined by N.D.C.C. § 51-28-01(8), which
provides:

Telephone solicitation means any voice, text, or other electronic
communication over a telephone line for the purpose of encouraging
charitable contributions, or the purchase or rental of, or investment in,
property, goods, services, or merchandise, including as defined in
subsection 3 of section 51-15-01, whether the communication is made
by a live operator, through the use of an automatic dialing-announcing

device or by other means. Telephone solicitation does not include
communications:

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A. — To any subscriber with that subscriber’s express written request,
consent, invitation, or permission.
B. By or on behalf of any person with whom the subscriber has an
established personal or business relationship.
iS. By or on behalf of a charitable organization that is exempt from
federal income taxation under section 501 of the Internal Revenue Code, but
only if the following applies:
i. The telephone call is made by a volunteer or employee of the
charitable organization; and
ii. The person who makes the telephone call immediately

discloses the following information upon making contact with the

consumer:
a. The person’s true first and last name; and
b. The name, address, and telephone number of the

charitable organization.

D. _ By or on behalf of any person whose exclusive purpose to poll or
solicit the expression of ideas, opinions, or votes, unless the communication
is a text message.

E. By the individual soliciting without the intent to complete, and who
does not in fact complete, the sales presentation during the call, but who will
complete the sales presentation at a later face-to-face meeting between the
individual solicitor or person who makes the initial call the prospective
purchaser, unless the communication is a text message.

F. By or on behalf of a political party, candidate, or other group with a
political purpose, as defined in section 16.1-08.1-01, unless the

communication is a text message.

N.D.C.C. § 51-28-01(8)(a)-(f).

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107. “Subscriber” is defined as “...a person who has subscribed to a residential
telephone line or the other persons residing with the subscribing person.” N.D.C.C. § 51-
28-01(6).

108. Automatic dialing-announcing device means a device that selects and dials
telephone numbers and that, working alone or in conjunction with other equipment,
disseminates a prerecorded or synthesized voice message to the telephone number called.”
N.D.C.C. § 51-28-01(1).

109. Definitions and citations to caselaw for a deceptive acts or practices claim
under N.D.C.C. § 51-15-02 are set forth in Count XVIII, infra.

110. N.D.C.C. § 51-15-02.3 is similar to the Telemarketing Sales Rule's (“TSR”)
assisting and facilitating provision. See 16 C.F.R. § 310.3(b) (“It is a deceptive
telemarketing act or practice and a violation of this Rule for a person to provide substantial
assistance or support to any seller or telemarketer when that person knows or consciously
avoids knowing that the seller or telemarketer is engaged in any act or practice that violates
... this Rule.”).

111. North Dakota law does not define “assistance of support.” In defining
“substantial assistance” under the TSR, courts have defined it as requiring more than casual
or incidental help to a telemarketer. See 16 C.F.R. § 310.3(b); FTC v. Chapman, 714 F.3d
1211, 1216 (10th Cir. 2013) (quoting FTC, Complying with the Telemarketing Sales Rule,
available at http://business.ftc.gov/documents/bus27-complying-telemarketing-sales-
rule#assisting (Feb. 2011)); Consumer Financial Protection Bureau v. Nesheiwat, No. 21-
56052, 2022 WL 17958636, at *1 (9th Cir. Dec. 27, 2022); FTC v. Consumer Health
Benefits Ass'n, No. 10-CV-3551 (ILG), 2011 WL 3652248, at *5 (E.D.N.Y. Aug. 18,2011)
(quoting Telemarketing Sales Rule, 60 Fed. Reg. 43842-01, 43852 (Aug 23, 1995)). There
must be some link between the third party’s actions and the telemarketer, but not
necessarily a direct connection. See Chapman, 714 F.3d at 1216. For example, someone
who provides lists of contacts to a seller or telemarketer, drafts the language used for

telemarketing, or makes available incentives to be used in the telemarketing, provides

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substantial assistance. See Statement of Basis and Purpose and Final Rule, Telemarketing
Sales Rule, 60 Fed. Reg. 43,842, 43,852 (Aug. 23, 1995).

112. North Dakota law does not define “consciously avoids knowing.” However,
in the context of a TSR claim, a person consciously avoids knowing about a violation when
“there are facts and evidence that support an inference of deliberate ignorance.” Statement
of Basis and Purpose and Final Rule, Telemarketing Sales Rule, 60 Fed. Reg. 43,842,
43,852 n.106 (Aug. 23, 1995) (citing United States v. Williams, 32 F.3d 570, at *6 (7th Cir.
1994)); see FTC v. Chapman, 714 F.3d 1211, 1219 (10th Cir. 2013) (quoting FTC,
Complying with the Telemarketing Sales Rule, available at https://www.ftc.gov/business-
guidance/resources/complying-telemarketing-sales-rule (Feb. 2011)) (“[T]aking deliberate
steps to ensure one's own ignorance of a seller or telemarketer's Rule violations is an
ineffective strategy to avoid liability.”). Knowledge can be inferred from a combination of
suspicion and indifference to the truth. See United States v. Salinas, 763 F.3d 869, 875 (7th
Cir. 2014) (discussing the “ostrich instruction”); Global-Tech Appliances, Inc. v. SEB S.A.,
563 U.S. 754, 769 (2011) (finding that a willfully blind defendant takes deliberate actions
to avoid confirming a high probability of wrongdoing). Further, "knowledge of the agent
is imputed to the principal." United States v. Dish Network L.L.C., 954 F.3d 970, 978 (7th
Cir. 2020).

COUNT XVIII - By the State of North Dakota

North Dakota — Violations of the Unlawful Sales or Advertising Practices law

N.D.C.C. ch. 51-15 — Deceptive or Unconscionable practices
113. In Count XVIII of the Complaint, Plaintiff State of North Dakota alleges

Defendants engaged in violations of N.D.C.C. ch. 51-15, the Unlawful Sales or Advertising
Practices Law, specifically N.D.C.C. § 51-15-02. Under N.D.C.C. § 51-15-02, there are
three separate causes of action: the first is based on deceptive acts and practices; the second

is based on unconscionable acts; and the third is based on acts that cause or are likely to

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cause substantial injury. Thus, to demonstrate a violation of N.D.C.C. § 51-15-02, Plaintiff
State of North Dakota must demonstrate one of the following:
A. That Defendants engaged in deceptive acts and practices in violation
of N.D.C.C. § 51-15-02, which requires showing that:
i. Defendants acted, used, or employed any deceptive act or
practice, fraud, false pretense, false promise, or misrepresentation;
ii. with the intent that others rely thereon; and
iil. in connection with the sale or advertisement of any
merchandise; or
B. That Defendants engaged in unconscionable acts in violation of
N.D.C.C. § 51-15-02, which requires a showing that:
i. Defendants used or employed an act or practice in connection
with the sale or advertisement of any merchandise; and
ii. the act or practice was unconscionable; or
ce That Defendants’ acts caused or were likely to cause substantial
injury in violation of N.D.C.C. § 51-15-02, which requires a showing that:
i. Defendants used or employed an act or practice in connection
with the sale or advertisement of any merchandise which caused or
was likely to cause an injury to a consumer;
ii. the consumer injury was substantial;
iii. the injury was not outweighed by any countervailing benefits
to consumers or to competition; and
iv. the injury was not an injury the consumers themselves could
reasonably have avoided.

N.D.C.C. § 51-15-02.

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First Cause of Action: Deceptive Acts and Practices

114. N.D.C.C. § 51-15-02 provides, in relevant part:

The act, use, or employment by any person of any deceptive act or
practice, fraud, false pretense, false promise, or misrepresentation,
with the intent that others rely thereon in connection with the sale or
advertisement of any merchandise, whether or not any person has in
fact been misled, deceived, or damaged thereby, is declared to be an
unlawful practice...

N.D.C.C. § 51-15-02.

115. “Sale” is defined as “any charitable solicitation or any sale, offer for sale, or
attempt to sell any merchandise for any consideration.” N.D.C.C. § 51-15-01(5).

116. “Advertisement” is defined to include “the attempt by publication,
dissemination, solicitation, or circulation, oral or written, to induce, directly or indirectly,
any person to enter into any obligation or acquire any title or interest in any merchandise.”
N.D.C.C. § 51-15-01(1).

117. “Merchandise” is defined as “any objects, wares, goods, commodities,
intangibles, real estate, charitable contributions, or services.” N.D.C.C. § 51-15-01(3).

118. “Person” is defined as “any natural person or the person's legal
representative, partnership, corporation, limited liability company, company, trust,
business entity, or association, and any agent, employee, salesman, partner, officer,
director, member, stockholder, associate, trustee, or cestui que trust thereof.” N.D.C.C. §
51-15-01(4).

119. N.D.C.C. § 51-15-02 uses language regarding an intent that others rely, not
an intent to deceive. See e.g. In re Chrysler-Dodge-Jeep Ecodiesel Mktg., Sales Pracs., &
Prod. Liab. Litig., 295 F. Supp. 3d 927, 1020 (N.D. Cal. 2018). See also People ex rel.
Babbitt v. Green Acres Tr., 127 Ariz. 160, 168, 618 P.2d 1086, 1094 (Ct. App. 1980)°

° Superseded by statute on other grounds, 1981 Ariz. Sess. Laws, ch. 295, § 5, as
recognized in State ex rel. Corbin v. Pickrell, 136 Ariz. 589, 592 (1983).

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citing A.R.S. § 44-1522(A) (“[R]eliance or actual deception or damage is not a prerequisite
to a consumer fraud action brought by the attorney general” under Arizona’s Consumer
Fraud Act).

120. Further, by its plain language, N.D.C.C. § 51-15-02 does not require a
showing that a person was misled, deceived or damaged by the defendant’s unlawful acts.

121. The North Dakota Supreme Court has held that for actions brought under Ch.
51-15, N.D.C.C., “the alleged fraudulent conduct must be proved by a preponderance of
the evidence.” State ex rel. Spaeth v. Eddy Furniture Co., 386 N.W.2d 901, 903 (N.D.
1986). In Eddy Furniture, the court noted, “it is generally recognized that consumer
protection statutes are remedial in nature, and therefore must be liberally construed in favor

of protecting consumers." /d. (internal citations omitted).

Second and Third Causes of Action: Unconscionable Act / Substantial Injury
122. N.D.C.C. § 51-15-02 further provides:

... The act, use, or employment by any person of any act or practice,
in connection with the sale or advertisement of any merchandise,
which is unconscionable or which causes or is likely to cause
substantial injury to a person which is not reasonably avoidable by the
injured person and not outweighed by countervailing benefits to
consumers or to competition, is declared to be an unlawful practice.

N.D.C.C. § 51-15-02.

123. As discussed, supra, the following terms are defined by N.D.C.C. § 51-15-
01: “person” (N.D.C.C. § 51-15-01(4)); “sale” (N.D.C.C. § 51-15-01(5)); “advertisement”
(N.D.C.C. § 51-15-01(1)); and “merchandise” (N.D.C.C. § 51-15-01(3)).

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Unconscionable Acts or Practices:

124. The North Dakota Supreme Court has not issued an opinion regarding the
meaning of “unconscionable” in the context of a consumer protection claim under Ch. 51-
14. N-D.C.E.

125. In the context of determining a certified question from a federal district court
regarding whether a provision in an arbitration agreement was unconscionable, the North
Dakota Supreme Court stated, “that a party alleging unconscionability must demonstrate
some quantum of both procedural and substantive unconscionability, and courts are to
balance the various factors, viewed in totality, to determine whether the particular
contractual provision is ‘so one-sided as to be unconscionable.” Strand v. U.S. Bank Nat.
Ass'n ND, 2005 ND 68, § 12, 693 N.W.2d 918, 924 citing Construction Assocs., Inc. v.
Fargo Water Equip. Co., 446 N.W.2d 237, 241 (1989).

126. With regards to procedural unconscionability, the North Dakota Supreme
Court explained:

Procedural unconscionability focuses upon formation of the contract
and fairness of the bargaining process, including factors such as
inequality of bargaining power, oppression, and unfair surprise...
Courts are more likely to find unconscionability in consumer

transactions than in contracts arising in purely commercial settings
involving experienced parties.

Strand v. U.S. Bank Nat. Ass'n ND, 2005 ND 68, § 13, citing Construction Assocs., 446
N.W.2d at 241-42.
127. With regards to substantive unconscionability, the North Dakota Supreme

Court explained, “[s]ubstantive unconscionability focuses upon the harshness or one-

sidedness of the contractual provision in question. Strand, 2005 ND 68, § 20, citing
Construction Assocs., 446 N.W.2d at 241.

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Substantial Injury:

128. There is no relevant North Dakota caselaw regarding the “substantial injury”
test under N.D.C.C. § 51-15-02. However, the “substantial injury test” under N.D.C.C. §
51-15-02 is similar to the “unfairness test” under Section 5 of the Federal Trade
Commission Act, which provides: a practice is “unfair” if it “causes or is likely to cause
substantial injury to consumers which is not reasonably avoidable by consumers
themselves and not outweighed by countervailing benefits to consumers or benefits.” 15
U.S.C. § 45(n).

129. The Ninth Circuit has held that, under the FTC Act, an act or practice can
cause “substantial injury” by doing a “small harm to a large number of people, or if it raises
a significant risk of concrete harm.” F.T.C. v. Neovi, Inc., 604 F.3d 1150, 1157-58 (9th
Cir. 2010).

130. Further, under Ninth Circuit precedent, an injury is reasonably avoidable -
under the FTC Act - if consumers “have reason to anticipate the impending harm and the
means to avoid it,” or if consumers are aware of, and are reasonably capable of pursuing,
potential avenues toward mitigating the injury after the fact. Davis v. HSBC Bank Nevada,
N.A., 691 F.3d 1152, 1168-69 (9th Cir. 2012) citing Orkin Exterminating Co., Inc. v.
FTC, 849 F.2d 1354, 1365-66 (11th Cir.1988).

131. With regards to whether consumer harm is “not outweighed by
countervailing benefits to consumers or to competition,” the District Court of Arizona has
held that the relevant act or practice which the countervailing benefits should be measured
are those outlined in the plaintiff’s pleadings, not the defendant’s business practices as a
whole. Fed. Trade Comm'n v. Elec. Payment Sols. of Am. Inc., No. CV-17-02535-PHX-
SMM, 2021 WL 3661138, at *12 (D. Ariz. Aug. 11,2021).

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COUNT XIX — By the State of Rhode Island
Rhode Island — Violations of the Telephone Sales Solicitation Act
R I Gen. Laws § 5-61-1, ef seq.

Defendants routed telephone solicitations from unregistered telephonic sellers to Rhode

Islanders in violation of the TSSA.

132. A telephone sales solicitation operation or telephonic seller is effectively
registered to do business in Rhode Island only when:

A. A filing containing all the information required by R.I. Gen. Laws §
5-61-4 has been submitted to the Consumer and Economic Justice Unit of
the Rhode Island Department of Attorney General; R.I. Gen. Laws § 5-61-
3(a);
B. The filing is accompanied by a one hundred dollar ($100) filing fee;
R.I. Gen. Laws § 5-61-3(a);
C. The seller has delivered and filed a surety bond, irrevocable letter of
credit, or certificate of deposit in a federally insured financial institution for
a minimum amount of thirty thousand dollars ($30,000), or if the Rhode
Island Department of Attorney General, in its discretion, established a greater
value, for that discretionary amount; R.I. Gen. Laws § 5-61-3.1(a)-(b);
D. The Rhode Island Department of Attorney General has sent a written
confirmation of receipt of the filing to the seller’s principal business location;
R.I. Gen. Laws § 5-61-3(d);
E. The seller has made copies for each of its business locations if it has
more than one business location; R.I. Gen. Laws § 5-61-3(d);
F. The seller has posted the confirmation of receipt of filing within ten
(10) days of receipt in a conspicuous place at each of the seller’s business
locations; R.I. Gen. Laws § 5-61-3(d);
G; The business done in Rhode Island commences within one year from

the date the seller received and posted the written confirmation or has

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renewed its annual registration, and received written confirmation of
renewal; R.I. Gen. Laws §§ 5-61-3(b)-(c); and
H. The Consumer and Economic Justice Unit of the Rhode Island
Department of Attorney General has not otherwise delayed, rejected, or
revoked the registration.
R.I. Gen. Laws § 5-61-3(e); see also R.I. Gen. Laws § 5-61-3.2.
133. A telephone sales solicitation operation or telephonic seller is deemed to do
business in Rhode Island when:
A. The seller solicits person(s) to become obligated to the seller from
locations in Rhode Island; or
B. The seller solicits person(s) who are located in Rhode Island to
become obligated to the seller.

R.I. Gen. Laws § 5-61-3(a); see also R.I. Gen. Laws § 5-61-2(7).

Defendants routed telephone solicitations with pre-recorded messages to Rhode Islanders

in violation of the TSSA.

134. A telephonic seller may make calls using prerecorded or synthesized voice
messages into or within Rhode Island only if:
A. The subscriber has knowingly or voluntarily requested, consented to,

permitted, or authorized receipt of the message; R.I. Gen. Laws § 5-61-

3.A(a);

B. The message is immediately preceded by a live operator who has:
i. Obtained the subscriber’s consent before the message is
delivered; R.I. Gen. Laws § 5-61-3.4(a);
ii. Made the proper disclosures required by R.I. Gen. Laws § 5-
61-3.4(c)(1)-(4) at the outset of the message.

C. The recorded message is from a school district to students, parents, or

employees; R.I. Gen. Laws § 5-61-3.4(b); or

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D. The recorded message is from an employer advising employees of
work schedules; R.I. Gen. Laws § 5-61-3.4(b); and

E. The automatic-dialing-announcing device used to make calls into or
within Rhode Island is designed and operated so as to create a disconnect
signal or an on-hook condition that allows the subscriber's line to be released
within five (5) seconds after termination of the telephone call by the

subscriber. R.I. Gen. Laws § 5-61-3.4(d).

Defendants provided telephonic seller customers with Rhode Islanders’ telephone numbers

who were then targeted for pre-recorded calls in violation of the TSSA.

135. A person who causes a telephone solicitation or attempted telephone
solicitation to occur is a telephonic seller for the purposes of the TSSA when:

A. The occurrence of the telephone solicitation or attempted telephone
solicitation is caused by a person on their own behalf;
B. The occurrence of the telephone solicitation or attempted telephone
solicitation is caused by a person acting through salespersons; or
C. The telephone solicitation or attempted telephone solicitation occurs
through the use of an automatic-dialing-announcing device; and
D. The person is not otherwise exempted from the meaning of
“telephonic seller” or “seller.”

R.I. Gen. Laws § 5-61-2(9)+(10).

Defendants routed telephone solicitations from telephonic seller customers to Rhode

Islanders whose numbers they knew were targeted on the National DNC Registry in

violation of the TSSA.

136. A salesperson or telephonic seller may make, or cause to be made,

unsolicited telephone sales calls to a residential, mobile, or telephonic-paging-device only

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A. the salesperson or telephonic seller has instituted procedures for
maintaining a list of persons who do not wish to receive telephonic sales calls
made by or on behalf of that person; and
B. the instituted procedures are in compliance with 47 C.F.R. Part 64 or
16 C.F.R. § 310.
R.I. Gen. Laws § 5-61-3.5(a); see also 16 C.F.R. § 310.4(b)(iii)(B) (2024) (It is an abusive
practice to initiate an outbound telephone call to a person when the person’s phone number
is on the National DNC Registry without that person’s written consent). See generally 47
C.F.R. § 64 (2023); 16 C.F.R. § 310 (2024).

COUNT XX - By the State of Rhode Island
Rhode Island — Violations of the Deceptive Trade Practices Act
R. I. Gen. Laws § 6-13.1-1, ef seq.

Defendants’ acts, practices, representations, and omissions violate the RI DTPA’s

prohibition against unfair trade practices.

137. Conduct is unfair for the purposes of the RI DTPA when a plaintiff shows
that:
A. “the practice, without necessarily having been previously considered
unlawful, offends public policy as it has been established by statutes, the
common law, or otherwise—whether, in other words, it is within at least the
penumbra of some common-law, statutory, or other established concept of
unfairness;”
B. “it is immoral, unethical, oppressive, or unscrupulous;” or
Cc. “it causes substantial injury to consumers (or competitors or other
businessmen).”
Long v. Dell, 93 A.3d 988, 100 (R.I. 2014) (quoting Ames v. Oceanside Welding and
Towing Co., 767 A.2d 677, 681 (R.I. 2001).

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138. All three of the factors do not need to be established. Rather, unfairness may
be proven by “showing that a trade practice meets one factor to a great degree or two or
three factors to a lesser degree.” Jd. at 1001.

139. Conduct is deceptive for the purposes of the RI DTPA when a plaintiff shows
that:

A. “a representation, omission, or practice, that”
B. “is likely to mislead consumers acting reasonably under the
circumstances, and”
i. the representation, omission, or practice is material.’”
Long v. Dell, 93 A.3d 988, 1003 (R.I. 2014) (quoting F.T-C. v. Verity Int’l Ltd., 443 F.3d
48, 63 (2d Cir. 2006).

140. A representation is material if it “involves information that is important to
consumers and, hence, likely to affect their choice of, or conduct regarding, a product,”
and “express representations that are shown to be false are presumptively material.” Long,
93 A.3d at 1003 (quoting F.T.C. v. Patriot Alcohol Testers, Inc., 798 F. Supp. 851, 855 (D.
Mass. 1992); Cliffdale Assoc., Inc., 103 F.T.C. 110, 165 (1984).

141. Conduct occurs in trade or commerce when it involves the:

A. Advertising, offering for sale, sale, or distribution of
B. Any services or any tangible or intangible, real, personal, or mixed
property, and any other article, commodity, or thing of value wherever
situate,
C. Including any trade or commerce directly or indirectly affecting the
people of Rhode Island.

R.I. Gen. Laws § 6-13.1-1(5).

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COUNT XXI —- By the State of Washington
Violation of the Washington State Consumer Protection Act, RCW 19.86.020

142. The CPA prohibits “unfair or deceptive acts or practices in the conduct of
any trade or commerce.” RCW 19.86.020. Through this “broad prohibit[ion]... the
legislature intended to provide sufficient flexibility to reach unfair or deceptive conduct
that inventively evades regulation.” Panag v. Farmers Ins. Co. of Wash., 166 Wn.2d 27,
37, 204 P.3d 885 (2009). The CPA “is to be liberally construed.” RCW 19.86.920. This
liberal construction directive ensures the protection of the public and the existence of fair
and honest competition. Jd.; see also State v. Ralph Williams’ North West Chrysler
Plymouth, Inc., 82 Wn.2d 265, 274, 510 P.2d 233 (1973).

143. To prevail on a CPA claim, the State must prove (1) an unfair or deceptive
act or practice, (2) occurring in trade or commerce, and (3) a public interest impact. State
v. Mandatory Poster Agency, 199 Wn. App. 506, 518, 398 P.3d 1271 (2017); see also RCW
19.86.020; .920. Unlike private plaintiffs, the State “is not required to prove causation or
injury.” Mandatory Poster, 199 Wn. App. at 518.

UNFAIR OR DECEPTIVE ACT

144. Deception exists if there is a representation, omission or practice that has “the
capacity to deceive” a reasonable consumer. Panag, 166 Wn.2d at 47 (emphasis added).
The State need not show actual deception, nor that Allure intended to deceive. Hangman
Ridge Training Stables, Inc. v. Safeco Title Ins. Co., 105 Wn.2d 778, 785, 719 P.2d 531
(1986); LA Investors, 2 Wn. App. 2d at 537-39. “A deceptive act or practice is measured
by ‘the net impression’ on a reasonable consumer.” Mandatory Poster, 199 Wn. App. at
519; Panag, 166 Wn.2d at 50. In evaluating whether a representation has the tendency or
capacity to deceive, courts are directed to look not to the most sophisticated consumers,
but the very least. Panag, 166 Wn.2d at 50.

145. Unfair acts or practices violate the CPA, even if they are not deceptive. See

Klem v. Wash. Mut. Bank, 176 Wn.2d 771, 787, 295 P.3d 1179 (2013). An act is “unfair”

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if it offends public policy, as established by statutes, the common law, or otherwise; is
immoral, unethical, oppressive, or unscrupulous; or causes substantial injury to consumers.
Rush v. Blackburn, 190 Wn. App. 945, 962-63, 361 P.3d 217 (2015). Allure’s NDAs
violate the CPA.

146. Pursuant to Section 3(c) of the Telemarketing Act, 15 U.S.C. § 6102(c), and
Section 18(d)(3) of the FTC Act, 15 U.S.C. § 57a(d)(3), a violation of the TSR constitutes
an unfair or deceptive act or practice in or affecting commerce, in violation of Section 5(a)

of the FTC Act, 15 U.S.C. § 45(a).

OCCURRING IN TRADE OR COMMERCE

147. The CPA broadly defines “trade” and “commerce” to include “the sale of
assets or services, and any commerce directly or indirectly affecting the people of the state
of Washington.” RCW 19.86.010(2). The CPA “bring[s] within its reach every person who
conducts unfair or deceptive acts or practices in any trade or commerce.” Michael v.
Mosquera-Lacy, 165 Wn.2d 595, 602, 200 P.3d 695 (2009). The terms “trade” and
“commerce” are interpreted broadly to include “the sale of assets or services, and any
commerce directly or indirectly affecting the people of the state of Washington.” RCW
19.86.010(2); Hangman Ridge, 105 Wn.2d at 785.

AFFECTING THE PUBLIC INTEREST

148. In determining whether unfair or deceptive conduct affects the public
interest, Washington courts consider five factors: (1) were the alleged acts committed in
the course of the defendants’ business; (2) was there a pattern or generalized course of
conduct; (3) were the acts repeated; (4) is there a real and substantial potential for
repetition; and (5) if the act complained of involved a single transaction, were many
consumers affected or likely to be affected by it. Hangman Ridge, 105 Wn.2d at 790. No
one factor is dispositive, and they do not need to all be present to establish a public interest

impact. Id. at 791.

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REMEDIES

149. The CPA provides for a range of remedies, including restitution, civil
penalties per violation, injunctive relief, and attorneys’ fees and costs. RCW 19.86.080;

RCW 19.86.140.

COUNT XXII — By the State of Wisconsin

Knowingly Assisting Violations of Telephone Solicitations Rules
Wis. Admin. Code § ATCP 127.20

150. Plaintiff, State of Wisconsin, brings Count XXII for violations of Wis.
Admin. Code ATCP ch. 127 (Direct Marketing), which was promulgated by the Wisconsin
Department of Agriculture, Trade and Consumer Protection under the authority of Wis.
Stat. § 100.20(2).

151. In Count XXII, Plaintiff State of Wisconsin will need to show that
Defendants knowingly assisted sellers to engage in any activity or practice in violation of
Wis. Admin. Code ATCP ch. 127 Subchapter II, Telephone Solicitations. Count XXII
encompasses three subclaims.

152. Count XXII is brought pursuant to Wis. Stat. §§ 100.20(6) and 100.26(6),
which authorize the State to recover pecuniary losses suffered by Wisconsin consumers
and to enforce and restrain violations of Wis. Stat. § 100.20 and Wis. Admin. Code ATCP
ch. 127. Each separate violation of Wis. Admin. Code ATCP § 127.20 is subject to a civil
forfeiture of not less than $100 nor more than $10,000 per Wis. Stat. § 100.26(6).

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153. “No person may knowingly assist’ any seller® to engage in any activity or

practice in violation of this subchapter.” (Wis. Admin. Code ATCP § 127.20).

’ Wisconsin law does not define “knowingly assist” or “knowingly facilitate” for
purposes of the rules cited herein. However, Wis. Admin. Code ATCP §§ 127.20 and
127.83(2)(d) are similar to the Telemarketing Sales Rule’s (TSR) assisting and facilitating
provision. See 16 C.F.R. § 310.3(b)(“It is a deceptive telemarketing act or practice and a
violation of this [Rule] for a person to provide substantial assistance or support to any seller
or telemarketer when that person knows or consciously avoids knowing that the seller or
telemarketer is engaged in any act or practice that violates ... this [Rule].”)/ Wisconsin
law does not require that the assistance be “substantial.” But even substantial assistance,
“does not impose a demanding standard[.]” FTC v. Day Pacer LLC, 689 F. Supp. 3d 609,
642, (N.D. Ill. 2023). In defining “substantial assistance,” courts have defined it as
requiring more than casual or incidental help to a telemarketer. See 16 C.F.R. § 310.3(b);
FTC v. Chapman, 714 F.3d 1211, 1216 (10th Cir. 2013) (quoting FTC, Complying with the
Telemarketing Sales Rule, available at http://business.ftc.gov/documents/bus27-
complying-telemarketing-sales-rule#assisting (Feb. 2011)); Consumer Financial
Protection Bureau v. Nesheiwat, No. 21-56052, 2022 WL 17958636, at *1 (9th Cir. Dec.
27, 2022); FTC v. Consumer Health Benefits Ass'n, No. 10-CV-3551 (ILG), 2011 WL
3652248, at *5 (E.D.N.Y. Aug. 18, 2011) (quoting Telemarketing Sales Rule, 60 Fed. Reg.
43842-01, 43852 (Aug 23, 1995)). “To constitute substantial assistance, there must be a
connection between the assistance provided and the resulting violations of the core
provisions of the TSR. U.S. v. Dish Network, L.L.C., 667 F. Supp. 2d 952, 961, (C.D. IIL.
2009). Knowledge can be inferred from a combination of suspicion and indifference to the
truth. See United States v. Salinas, 763 F.3d 869, 875 (7th Cir. 2014) (discussing the
“ostrich instruction”). Knowledge may be inferred when the person providing assistance
receives complaints about violations. FTC v. Day Pacer LLC, 689 F. Supp. 3d at 642.

* “Seller” means a person, other than a bank, savings bank, savings and loan association,
credit union, insurance company, public utility, or telecommunications carrier engaged in
exempt activities under s. 93.01 (1m), Stats., who is engaged in the business of selling,
offering to sell, or promoting the sale of consumer goods or services to consumers. “Seller”
includes all of the following:

1. A person who accepts payment for a purported sale of consumer goods or services
to a consumer.

2. Anemployee or agent of a seller.

3. A person who makes solicitations under arrangement with a seller. (Wis. Admin.
Code ATCP § 127.01(21)).

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154. Disclosures Subclaim: Knowingly assisting sellers to engage in telephone
solicitations’ that failed to make required disclosures (See Wis. Admin. Code ATCP §§
127.04, 127.20).

A. Element 1: Defendants knowingly assisted sellers to engage in
telephone solicitations that failed to make required disclosures (See Wis.
Admin. Code ATCP §§ 127.04, 127.20); and
B. Element 2: The sellers made telephone solicitations that failed to
disclose in a telephone solicitation (See Wis. Admin. Code ATCP §
127.04(1)):
i. The name of the principal seller (See Wis. Admin. Code ATCP
§ 127.04(1)(a)); and
ii. The nature of the goods or services which the seller was
offering or promoting (See Wis. Admin. Code ATCP § 127.04(1)(d)).

155. Misrepresentations Subclaim: Knowingly assisting sellers to engage in
telephone transactions’® that included misrepresentations (See Wis. Admin. Code ATCP
§§ 127.14, 127.20).

° “Telephone solicitation" means a solicitation, under s. ATCP 127.01(22), that a seller
makes to a consumer by telephone, videoconferencing, or other interactive electronic voice
communications. (Wis. Admin. Code ATCP § 127.02(3)). “Solicitation” means a
communication received by a consumer at a place other than the seller's regular place of
business, in which a seller offers or promotes the sale of consumer goods or services to a
consumer, or which is part of a seller's plan or scheme to sell consumer goods or services
to a consumer. (See Wis. Admin. Code ATCP § 127.01(22)).

'° “Telephone transaction" means any of the following:
1. A telephone solicitation.

2. Purchase contracts and other dealings that result from a telephone solicitation. (Wis.
Admin. Code ATCP § 127.02(4)).

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A. Element 1: Defendants knowingly assisted sellers to engage in
telephone solicitations that included misrepresentations (See Wis. Admin.
Code ATCP §§ 127.14, 127.20); and
B. Element 2: The sellers, in a telephone transaction, directly or
impliedly (See Wis. Admin. Code ATCP § 127.14):
i. Misrepresented the seller’s identity, affiliation, location, or
characteristics (See Wis. Admin. Code ATCP § 127.14(1);
ii. Misrepresented the nature, quantity, material characteristics,
performance, or efficacy of the goods or services offered or promoted
by the seller (See Wis. Admin. Code ATCP § 127.14(5));
iii. | Misrepresented that the seller is affiliated with, or endorsed by,
any government or 3rd party organization (See Wis. Admin. Code
ATCP § 127.14(9)); and/or
iv. Made false, deceptive, or misleading representations to a
consumer (See Wis. Admin. Code ATCP § 127.14(15)).

156. Restricted Times Subclaim: Knowingly assisting sellers to engage in
telephone solicitations during restricted times (See Wis. Admin. Code ATCP §§ 127.16(3),
127.20).

A. — Element 1: Defendants knowingly assisted sellers to initiate telephone
solicitations to consumers before 8:00 AM or after 9:00 PM (See Wis.
Admin. Code ATCP §§ 127. 16(3), 127.20); and

B. Element 2: The telephone solicitations were made without prior

consent of the consumers (See Wis. Admin. Code ATCP § 127.16(3)).

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COUNT XXIII — By the State of Wisconsin

Knowingly Facilitating Violations of Telephone Solicitations
Do-Not-Call Rules. Wis. Admin. Code § ATCP 127.83(2)(d)

157. Plaintiff, State of Wisconsin, brings Count XXIII for violations of Wis.
Admin. Code ATCP ch. 127 (Direct Marketing), which was promulgated by the Wisconsin
Department of Agriculture, Trade and Consumer Protection under the authority of Wis.
Stat. § 100.20(2).

158. In Count XXIII, Plaintiff State of Wisconsin will need to show that
Defendants knowingly facilitated any person’s violation of Wis. Admin. Code ATCP ch.
127 Subchapter V, Telephone Solicitations; State Do-Not-Call Registry. Count XXII
consists of two subclaims.

159. Count XXIII is brought pursuant to Wis. Stat. §§ 100.20(6) and 100.26(6),
which authorize the State to recover pecuniary losses suffered by Wisconsin consumers
and to enforce and restrain violations of Wis. Stat. § 100.20 and Wis. Admin. Code ATCP
ch. 127. Each separate violation of Wis. Admin. Code ATCP § 127.83(3)(d) is subject to
a civil forfeiture of not less than $100 nor more than $10,000 per Wis. Stat. § 100.26(6).

160. No person may “Require, instruct, or authorize any person to violate this
subchapter, or knowingly facilitate’’ any person's violation of this subchapter.” (Wis.
Admin. Code ATCP § 127.83(2)(d)).

161. Do-Not-Call Subclaim: Knowingly facilitate any person in making a
telephone solicitation to a customer whose telephone number appears on the do-not-call
registry (See Wis. Admin. Code ATCP §§ 127.82(2), 127.83(2)(d)).

A. Element 1: Defendants knowingly facilitated persons to make
telephone solicitations, either directly or through an employee or agent, to
customers on the state do-not-call registry (See Wis. Admin. Code ATCP §§
127.82(2), 127.83(2)(d)); and

’ For discussion of “knowingly facilitate” see first footnote to Wisconsin’s elements.

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B. Element 2: The customers were “covered telephone customers” which
means they were individuals in Wisconsin who received basic local exchange
service or commercial mobile service from a telecommunications utility (See
Wis. Admin. Code ATCP § 127.80(4)); and

iS. Element 3: The state do-not-call registry means the portion of the
national do-not-call registry that consists of numbers with Wisconsin area
codes (Wis. Admin. Code ATCP § 127.80(6r); and

D. Element 4: The national do-not-call registry means the national
database established by the federal trade commission under 47 USC §
227(c)(3) that consists of telephone numbers of residential customers who
object to receiving telephone solicitations (Wis. Admin. Code ATCP §
127.80(5)).

162. Prerecorded Message Subclaim: Knowingly facilitate any person in using
electronically prerecorded messages in telephone calls to encourage purchases without first
obtaining written consent (See Wis. Admin. Code ATCP §§ 127.83(2)(b), (d)).

A. Element 1: Defendants knowingly facilitated persons to use
electronically prerecorded messages in telephone calls to encourage
customers to make purchases without first obtaining the customers’ consent
(See Wis. Admin. Code ATCP §§ 127.83(2)(b), (d)); and

B. Element 2: The customers were covered telephone customers or
noncovered telephone customers. “Noncovered telephone customer” means
a means a person, other than a covered customer, who receives
telecommunications service from a telecommunications utility (See Wis.
Admin. Code ATCP §§ 127.80(4), (6); and

C. Element 3: The purchases were for property, goods, or services, (See
Wis. Admin. Code ATCP § 127.83(2)(b)); and

D. — Element 4: Consent is a written agreement that contains the telephone

number and signature of the customer to be called, that discloses in writing

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that the customer is not required to sign the agreement as a condition of
making a purchase and authorizes telemarketing calls from that person (See
Wis. Admin. Code ATCP § 127.83(2)(b)); and

E. Element 5: The person was not a nonprofit organization, (See Wis.
Admin. Code ATCP §127.80(10)(a))'*; and

F. Element 6: The person was not an individual acting on his or her own

behalf (See Wis. Admin. Code ATCP § 127.80(10)(b)).

". The lengthy provisions of Wis. Admin. Code ATCP §§ 127.80(10)(a) and (b) are set
forth here in abbreviated form.

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